Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 1 of 67




                        Exhibit A
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 2 of 67




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


RADIYA BUCHANAN
c/o Gibson, Dunn & Crutcher LLP
1050 Connecticut Avenue, N.W.
Washington, D.C. 20036;

ANN DAGRIN
c/o Gibson, Dunn & Crutcher LLP
1050 Connecticut Avenue, N.W.
Washington, D.C. 20036;

LINDSAY FIELD
c/o Gibson, Dunn & Crutcher LLP
1050 Connecticut Avenue, N.W.                    Case No. 20-cv-1542-DLF
Washington, D.C. 20036;

Plaintiffs,

      v.

DONALD J. TRUMP,
In his individual capacity
1600 Pennsylvania Avenue, N.W.
Washington, D.C. 20500;

WILLIAM P. BARR,
In his individual capacity
950 Pennsylvania Avenue, N.W.
Washington, D.C. 20530;

GREGORY T. MONAHAN
In his individual capacity as
Acting Chief of the United States Park Police,
1100 Ohio Drive, S.W.
Washington, D.C. 20242;

RUSSELL FENNELLY,
In his individual capacity as
Captain of the United States Park Police,
1100 Ohio Drive, S.W.
Washington, D.C. 20242;

MARK ADAMCHIK,
In his individual capacity as
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 3 of 67




Incident Commander of the United States Park
Police,
1100 Ohio Drive, S.W.
Washington, D.C. 20242;

CARA SEBERLING,
In her individual capacity as an officer of the United
States Park Police,
c/o United States Park Police,
1100 Ohio Drive, S.W.
Washington, D.C. 20242;

JEFFERY CARROLL
In his individual capacity as Assistant Chief of
Metropolitan Police Department of the District of
Columbia,
c/o Metropolitan Police Department
300 Indiana Avenue, N.W., Room 5059,
Washington, D.C. 20001;

ANTHONY ALIOTO
In his individual capacity as an officer of
Metropolitan Police Department of the District of
Columbia,
c/o Metropolitan Police Department
300 Indiana Avenue, N.W., Room 5059,
Washington, D.C. 20001;

JEFFREY BUCHANAN
In his individual capacity as an officer of
Metropolitan Police Department of the District of
Columbia,
c/o Metropolitan Police Department
300 Indiana Avenue, N.W., Room 5059,
Washington, D.C. 20001;

TIMOTHY HARGROVE
In his individual capacity as an officer of
Metropolitan Police Department of the District of
Columbia,
c/o Metropolitan Police Department
300 Indiana Avenue, N.W., Room 5059,
Washington, D.C. 20001;

CHRISTOPHER MEYER




                                                1
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 4 of 67




In his individual capacity as an officer of
Metropolitan Police Department of the District of
Columbia,
c/o Metropolitan Police Department
300 Indiana Avenue, N.W., Room 5059,
Washington, D.C. 20001;

CLIFTON MURPHY
In his individual capacity and official capacity as an
officer of Metropolitan Police Department of the
District of Columbia,
c/o Metropolitan Police Department
300 Indiana Avenue, N.W., Room 5059,
Washington, D.C. 20001;

TIFFANY PAYNE
In her individual capacity as an officer of
Metropolitan Police Department of the District of
Columbia,
c/o Metropolitan Police Department
300 Indiana Avenue, N.W., Room 5059,
Washington, D.C. 20001;

JUSTIN TAYLOR
In his individual capacity as an officer of
Metropolitan Police Department of the District of
Columbia,
c/o Metropolitan Police Department
300 Indiana Avenue, N.W., Room 5059,
Washington, D.C. 20001;

DANIEL THAU
In his individual capacity as an officer of
Metropolitan Police Department of the District of
Columbia,
c/o Metropolitan Police Department
300 Indiana Avenue, N.W., Room 5059,
Washington, D.C. 20001;

ANTHONY A. WILLIS
In his individual capacity as an officer of
Metropolitan Police Department of the District of
Columbia,
c/o Metropolitan Police Department
300 Indiana Avenue, N.W., Room 5059,
Washington, D.C. 20001;



                                                2
          Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 5 of 67




    WAYNE VINCENT
    In his individual capacity as a captain of the
    Arlington County Police Department,
    c/o Arlington County Police Department
    1425 N Courthouse Rd,
    Arlington, VA 22201;

    RYAN BLACK,
    In his individual capacity as an officer of the
    Arlington County Police Department,
    c/o Arlington County Police Department
    1425 N Courthouse Rd,
    Arlington, VA 22201;

    RYAN ALLEN,
    In his individual capacity as an officer of the
    Arlington County Police Department,
    c/o Arlington County Police Department
    1425 N Courthouse Rd,
    Arlington, VA 22201;

    JOHN & JANE DOES 1–50;

    JOHN & JANE POES 1-50;

    JOHN & JANE ROES 1-50;

    and

    UNITED STATES OF AMERICA
    950 Pennsylvania Avenue N.W.
    Washington, D.C. 20530,

    Defendants.


                                SECOND AMENDED COMPLAINT1

          1.      This case concerns a day that will live in infamy. It’s the day that our federal

executive branch unleashed a military and paramilitary force on a band of peaceful protesters


1
      Defendants have removed from this Second Amended Complaint any claims this Court
      dismissed in Black Lives Matter v. Trump, 544 F. Supp. 3d 15 (D.D.C. 2021), aff’d sub nom.
                                                                           (Cont’d on next page)

                                                      3
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 6 of 67




assembled in historic Lafayette Park across from the White House. The officials, wielding batons,

sprayed the crowd with tear gas, flash-bang grenades, smoke bombs, and rubber bullets, causing

frightened protesters to flee, fearing for their lives and hobbled by their injuries. It was a gross

abuse of executive power that violated First Amendment free speech rights, Fourth Amendment

protections against unreasonable force, and state laws against assault, battery, and infliction of

emotional distress. This must never happen again.

       2.      On June 1, 2020, peaceful protesters gathered in Lafayette Park, a public park

adjacent to the White House, to call for racial justice and police reform following the recent

homicide of George Floyd and too many other black people at the hands of law enforcement. The

atmosphere in the park that day was peaceful, with some people singing, some dancing, and others

kneeling in silence. Some protesters had even brought their young children and pets. They carried

signs with messages like “Black Lives Matter” and “I Can’t Breathe,” and called on officers

present to take a knee in solidarity with the protests. Others questioned why the police wore

militarized equipment, chanting “We don’t see a riot here. Why are you in riot gear?”

       3.      Lafayette Park—the people’s park—is situated at the White House’s doorstep. It

provides a unique and important venue for protesters to have their grievances heard by the

President of the United States and the nation’s other most powerful leaders. Although it was once

used as a place to sell and house slaves, it has since been the site of many of the most influential

protests in American history, including the Women’s Suffrage Protests of the early 1900s, the Civil

Rights Protests of the mid-1960s, and the Vietnam War Protests of the late 1960s and early




   Buchanan v. Barr, 71 F.4th 1003 (D.C. Cir. 2023). Despite these omissions, Plaintiffs reserve
   the right to appeal the dismissal of those dismissed claims. See, e.g., Jefferson v. Harris, 285
   F. Supp. 3d 173, 180 (D.D.C. 2018); BEG Invs., LLC v. Alberti, 85 F. Supp. 3d 13, 50 (D.D.C.
   2015).


                                                 4
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 7 of 67




1970s. Those protesters could not be ignored, peaceably assembling within earshot of Presidents

and in plain view of the White House. Lafayette Park is one of the few places in the country where

the American people can speak to the executive branch directly. It is for this reason that courts in

this District have called Lafayette Park one of the “most conspicuous public for[a] in the nation,”

and a truly “unique situs for the exercise of First Amendment rights.” Thus, it came as no surprise

that, as demands for racial justice swept the country, peaceful protesters once again made their

way to Lafayette Park to speak directly to the President and the nation.

       4.      As the peaceful protests that day continued into the early evening of June 1, 2020,

President Trump, unbeknownst to the protesters, was preparing himself to cross through Lafayette

Park en route to a photo opportunity in front of nearby St. John’s Episcopal Church across the

street. At that time, members of the United States Park Police (“USPP”), the United States Secret

Service, the District of Columbia National Guard, the Bureau of Prisons, Metropolitan Police

Department, Arlington County Police Department, and others who appeared to be military were

already surrounding the protesters. Indeed, the President had recently deployed active duty troops

to Washington, D.C., in an effort to suppress protests. Arriving on the scene, then–Attorney

General William Barr ordered these military and paramilitary forces to clear Lafayette Park.

       5.      Suddenly and without warning, this military force launched a vicious attack on the

protesters that one witness, a military veteran, described as “like being back in combat.” The

police—wearing riot gear, wielding batons, carrying firearms, and displaying “Military Police”

shields—released a gaseous chemical irritant that the federal government later claimed wasn’t

“tear gas,” even though it caused tears. The officers, some of whom were on horseback, fired

rubber bullets into the crowd, as the bruises and welts all over protesters’ bodies confirmed. And

the officers threw flash-bang grenades and smoke bombs into the crowd, filling the air with fire




                                                 5
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 8 of 67




and smoke, and leaving protesters burned in their wake. The scene was utter chaos, with many

screaming as they ran for cover, others vomiting or blinded by the tear gas, and some trampled by

horses and the crush of the fleeing crowd.

       6.      The federal government’s actions drew condemnation from across the political

spectrum. General James Mattis, President Trump’s former Secretary of Defense, wrote that he

never “dream[ed] that troops taking th[e] [] oath [to defend the United States Constitution] would

be ordered under any circumstance to violate the Constitutional rights of their fellow citizens—

much less to provide a bizarre photo op for the elected commander-in-chief, with military

leadership standing alongside.” And the Right Reverend Mariann Budde, Bishop of the Episcopal

Diocese of Washington, stated that she was “outraged” that she “was not given even a courtesy

call that they would be clearing [Lafayette Park] with tear gas so they could use one of our churches

as a prop, holding a Bible, one that declares that God is love and when everything [the President]

has said and done is to inflame violence.”

       7.      For his part, President Trump had “no regrets” about this attack on peaceful

protesters in the shadow of the White House. In fact, the next day, he lauded the “domination”

and “overwhelming force” that was used on these peaceful protesters, and he congratulated himself

in the third person for deploying it, tweeting “thank you President Trump!” And on the very

morning Plaintiffs filed this action (June 11, 2020), President Trump tweeted: “Our great National

Guard Troops who took care of the area around the White House could hardly believe how easy it

was. ‘A walk in the park’, one said. The protesters, agitators, anarchists (ANTIFA), and others,

were handled VERY easily by the Guard, D.C. Police, & S.S. GREAT JOB!” Later that morning,

though, General Mark Milley, the Chairman of the Joint Chiefs of Staff, publicly apologized for

his role in the Lafayette Park incident: “I should not have been there. My presence in that moment




                                                 6
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 9 of 67




and in that environment created a perception of the military involved in domestic politics. As a

commissioned uniformed officer, it was a mistake that I have learned from, and I sincerely hope

we all can learn from it.”

       8.      There was no justification, however, for this brutal attack on peaceful civilian

targets. In fact, Attorney General Barr has since effectively conceded that the violence was

unnecessary—admitting that “[t]his was not an operation to respond to that particular crowd.” The

media and others captured on video the passionate but peaceful nature of this protest, followed by

the officers’ assault on protesters. Videos of the incident itself confirmed the timing; officers

began using munitions on peaceful protesters approximately 25 minutes before a curfew set by the

District of Columbia was about to go into effect, meaning they could not have been enforcing any

curfew violation, as the White House later claimed. Similarly, the other justifications that federal

officials offered for their conduct—that, for instance, they wanted to expand the White House

security perimeter, or that the President needed space to walk to his photo op in front of St. John’s

Episcopal Church—fail to explain or justify the violence used or the park’s closing. Rather, it

seems the protesters were removed simply because they were offering a message of racial justice

and equality different from the President’s. Indeed, the President has described racial justice

protesters as “thugs” who need to be “dominat[ed,]” while earlier characterizing neo-Nazi rallies

in Charlottesville, Virginia, as the grievances of “very fine people” on both sides.

       9.      A whistleblower—a National Guardsman who had been present at Lafayette Park

on June 1—may have put it best when he testified before Congress in late July about the

Defendants’ attack on the peaceful protesters:

               Having served in a combat zone, and understanding how to assess
               threat environments, at no time did I feel threatened by the protesters
               or assess them to be violent. In addition, considering the principles
               of proportionality of force and the fundamental strategy of



                                                 7
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 10 of 67




               graduated responses specific to civil disturbance operations, it was
               my observation that the use of force against demonstrators in the
               clearing operation was an unnecessary escalation of the use of force.
               From my observation, those demonstrators—our fellow American
               citizens—were engaged in the peaceful expression of their First
               Amendment rights. Yet they were subjected to an unprovoked
               escalation and excessive use of force.

       10.     The whistleblower was right. The decision to disperse these peaceful protesters in

Lafayette Park so suddenly and violently was arbitrary, unlawful, and unconstitutional for many

independent reasons. First, it violated the First Amendment’s guarantees of free speech and

peaceable assembly. It was an all-out assault on core democratic freedoms the Founders embedded

into the Constitution. And it was undertaken for no rational reason, let alone any compelling one,

as the Constitution requires. Second, the attack on protesters violated the Fourth Amendment’s

prohibition on unlawful seizures and the unreasonable use of force. Third, in the course of

violating protesters’ constitutional rights, the attack also trampled core tort law protections against

unlawful assault, battery, and infliction of emotional distress.

       11.     “[P]eaceful opposition is guaranteed to [the American] people and is recognized as

a symbol of independent thought containing the promise of progress.” Stromberg v. People of

State of Cal., 283 U.S. 359, 366 (1931). That federal officials, including the President and the

Attorney General, sanctioned an attack on a group of unarmed peaceful American protesters is

tantamount to an attack on American democracy. They must be held accountable for these

unconscionable acts. To those who thought such an atrocity couldn’t happen here, it now has. But

never again.


                                             PARTIES

       12.     Plaintiff Radiya Buchanan is a resident of Washington, D.C., who was

demonstrating peaceably in Lafayette Park on June 1, 2020.



                                                  8
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 11 of 67




       13.     Plaintiff Ann Dagrin is a resident of Washington, D.C. who was demonstrating

peaceably in Lafayette Park on June 1, 2020.

       14.     Plaintiff Lindsay Field is a resident of Washington, D.C., who was demonstrating

peaceably in Lafayette Park on June 1, 2020.

       15.     Defendant Donald J. Trump was the 45th President of the United States. He is sued

in his individual capacity.

       16.     Defendant William P. Barr is the former Attorney General of the United States. He

is sued in his individual capacity.

       17.     Defendant Gregory Monahan was the Acting Chief of the United States Park Police

on June 1, 2020. He is sued in his individual capacity.

       18.     Russell Fennelly was Captain of the United States Park Police on June 1, 2020. He

is sued in his individual capacity.

       19.     Defendant Mark Adamchik was the Incident Commander of the United States Park

Police on June 1, 2020. He is sued in his individual capacity.

       20.     Defendant Cara Seberling was an officer of the United States Park Police on June

1, 2020. She is sued in her individual capacity.

       21.     Defendant Anthony Alioto was an officer of the Metropolitan Police Department

on June 1, 2020. He is sued in his individual capacity.

       22.     Defendant Jeffrey Buchanan (helmet number 4790) is an officer of the Metropolitan

Police Department. He is sued in his individual capacity.

       23.     Defendant Jeffery Carroll was Assistant Chief of the Metropolitan Police

Department’s Homeland Security Bureau on June 1, 2020. He is sued in his individual capacity.




                                                   9
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 12 of 67




       24.     Defendant Timothy Hargrove (helmet number 3176) was an officer of the

Metropolitan Police Department on June 1, 2020. He is sued in his official capacity.

       25.     Defendant Christopher Meyer (helmet number 4895) was an officer of the

Metropolitan Police Department on June 1, 2020. He is sued in his individual capacity.

       26.     Defendant Clifton Murphy (helmet number S800) was an officer of the

Metropolitan Police Department on June 1, 2020. He is sued in his individual capacity.

       27.     Defendant Tiffany Payne (helmet number 5751) was an officer of the Metropolitan

Police Department on June 1, 2020. She is sued in her individual capacity.

       28.     Defendant Justin Taylor (helmet number 5705) was an officer of the Metropolitan

Police Department on June 1, 2020. He is sued in his individual capacity.

       29.     Defendant Daniel M. Thau (helmet number S580) was an officer of the

Metropolitan Police Department on June 1, 2020. He is sued in his individual capacity.

       30.     Defendant Anthony A. Willis (helmet number 5453) was an officer of the

Metropolitan Police Department on June 1, 2020. He is sued in his individual capacity.

       31.     Defendant Wayne Vincent was a captain in the Arlington County Police

Department on June 1, 2020. He is sued in his individual capacity.

       32.     Defendant Ryan Black was an officer of the Arlington County Police Department

on June 1, 2020. He is sued in his individual capacity.

       33.     Defendant Ryan Allen was an officer of the Arlington County Police Department

on June 1, 2020. He is sued in his individual capacity.

       34.     Defendants John and Jane Does Nos. 1–50 were members of the federal law

enforcement agencies who were present in Lafayette Park on the evening of June 1, 2020, and

authorized, planned, and participated in the violent attack on Plaintiffs and other protesters in the




                                                 10
          Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 13 of 67




park. On information and belief, included among John and Jane Does are United States Park Police

Officers wearing helmet numbers A702, A704, A706, B714, C711, C723, and S735 and arm patch

numbers BT09, JD97, and SK10, all of whom personally cleared protesters from Lafayette Park

through means such as wielding shields and batons and charging protesters. They are sued in their

individual capacities.

          35.   Defendants John and Jane Poes Nos. 1–50 were members of non-federal law

enforcement agencies from jurisdictions other than the District of Columbia, including the

Arlington County Police Department, who were present in Lafayette Park on the evening of June

1, 2020, and authorized, planned, and participated in the violent attack on Plaintiffs and other

protesters in the park. They are sued in their individual capacities.

          36.   Defendants John and Jane Roes Nos. 1–50 were members of the Metropolitan

Police Department who were present in Lafayette Park on the evening of June 1, 2020, and

authorized, planned, and participated in the violent attack on Plaintiffs and other protesters in the

park. They are sued in their individual capacities.

          37.   Defendant United States of America is the governing entity that operates and

oversees the U.S. Park Police, U.S. Secret Service, D.C. National Guard, and Federal Bureau of

Prisons. In this case, the United States acted through its agents, Defendants Barr, Adamchik,

Monahan, Fennelly, Seberling, John and Jane Does Nos. 1–50, and other officers of the U.S. Park

Police, U.S. Secret Service, D.C. National Guard, and Federal Bureau of Prisons who ordered

and/or carried out the attack on the peaceably assembled protesters on June 1, 2020. All these

actors was operating within the scope of their employment and under color of the law of the United

States.




                                                 11
          Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 14 of 67



                                 JURISDICTION AND VENUE

          38.   This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 or alternatively under 28 U.S.C. § 1367.

          39.   This Court also has jurisdiction pursuant to 28 U.S.C. § 1346(b)(1) in that Plaintiffs

raise claims under the Federal Tort Claims Act (FTCA), 28 U.S.C. §§ 1346, 2671 et seq.

Moreover, Plaintiffs have not received a final disposition of Plaintiffs’ claims within six months

after filing their claims. 28 U.S.C. § 2675(a).

          40.   Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b)(2) and (e)(1). A

substantial part of the events giving rise to this claim occurred in this District, and Defendants are

officers of the United States sued in their individual capacities.


                              ADMINISTRATIVE EXHAUSTION

          41.   On May 24, 2022, Plaintiffs Radiya Buchanan, Ann Dagrin, and Lindsay Field

submitted claims via Standard Form 95 to the U.S. Park Police, U.S. Secret Service, D.C. National

Guard, and Federal Bureau of Prisons.

          42.   Each form documented Plaintiffs’ claims and injuries arising from the attack on the

peaceably assembled protesters on June 1, 2020, and asserted damages of $500,000 for personal

injury.

          43.   More than six months have passed since Plaintiffs submitted their claims, and the

agencies have not issued final dispositions of these claims. 28 U.S.C. § 2675(a).

          44.   Plaintiffs have therefore exhausted their administrative remedies under the FTCA.




                                                  12
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 15 of 67



                                             FACTS

          Racially Motivated Killings of Black Americans Spark Peaceful National Protests.

       45.     On May 25, 2020, George Floyd, a black man, died after a Minneapolis Police

Department officer kneeled on his neck for nearly nine minutes, despite his repeated cries

explaining that he could not breathe. The police officer who held his knee to Mr. Floyd’s neck,

and three other officers who were present, have all since been charged with second- and third-

degree murder, second-degree manslaughter, and aiding and abetting the same. Mr. Floyd’s cruel

death was captured on video, sparking widespread outrage and protests around the world.

       46.     Mr. Floyd’s death followed on the heels of several other racially charged killings

of black Americans, including the fatal shootings of Ahmaud Arbery, who was shot while jogging

near his home, and Breonna Taylor, who was shot by plain-clothed police officers executing a “no-

knock” search warrant in Taylor’s home. And, of course, the deaths of Mr. Floyd, Mr. Arbery,

and Ms. Taylor are not isolated incidents. In recent years, Trayvon Martin, Eric Garner, Michael

Brown, Sandra Bland, Tamir Rice, Philando Castile, Botham Jean, and countless others have

suffered tragic and senseless deaths, sparking protests and demonstrations in their own right.

       47.     Large protests against police brutality and the differential treatment of people of

color broke out, first in Minneapolis, where Mr. Floyd was killed, then in communities across the

country. Although the overwhelming majority of demonstrations were peaceful, during this time

period, some localities experienced rioting, looting, and property damage.

       The President Urges the Government to Crush These Peaceful Protests Violently.

       48.     President Trump responded to the unrest occurring in some localities by publicly

urging an aggressive and violent law enforcement response. On May 29, 2020, President Trump

tweeted from his official account: “Either the very weak Radical Left Mayor, Jacob Frey, get his

act together and bring the City [of Minneapolis] under control, or I will send in the National Guard


                                                13
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 16 of 67




& get the job done right . . . . These THUGS are dishonoring the memory of George Floyd, and I

won’t let that happen. Just spoke to Governor Tim Walz and told him that the Military is with him

all the way. Any difficulty and we will assume control but, when the looting starts, the shooting

starts. Thank you!”

       49.      The next day, May 30, 2020, President Trump tweeted about a protest outside the

White House the previous night, stating, “Big crowd, professionally organized, but nobody came

close to breaching the fence. If they had they would . . . have been greeted with the most vicious

dogs, and most ominous weapons, I have ever seen. That’s when people would have been really

badly hurt, at least. Many Secret Service agents just waiting for action.” Later that day, President

Trump tweeted, “Crossing State lines to incite violence is a FEDERAL CRIME!                 Liberal

Governors and Mayors must get MUCH tougher or the Federal Government will step in and do

what has to be done, and that includes using the unlimited power of our Military and many

arrests. Thank you!” The same day he also “retweeted” another account’s statement that “[t]his

isn’t going to stop until the good guys are willing to use overwhelming force against the bad guys.”

       50.      On May 31, 2020, President Trump retweeted another account’s statement that

“The radical-left formally divorced itself from America last night. They are domestic terrorists

and enemies of the United States. They should be treated as such.” Later that day, President

Trump announced that “The United States of America will be designating ANTIFA as a Terrorist

Organization.” And on June 5, 2020, President Trump retweeted yet another statement denigrating

the protesters and their message, expressing feeling “sicken[ed]” by “[t]he fact that [George Floyd]

has been held up as a martyr.”

             Lafayette Park: Peaceful Protests Are Met with Police Assaults on June 1, 2020.

       51.      Large protests in Washington, D.C. began by May 29, 2020, and continued to grow

over the ensuing days. Although most of the protests were peaceful, instances of looting and


                                                14
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 17 of 67




vandalism did occur, including a fire that broke out in the basement of the historic St. John’s

Episcopal Church, adjacent to Lafayette Park, on the night of May 31, 2020. Ultimately, Mayor

Muriel Bowser of the District of Columbia announced a citywide curfew beginning at 7:00 p.m.

on June 1, 2020 and ending at 6:00 a.m. on June 2, 2020.

       52.     On the morning of June 1, 2020, the President held a conference call with the

nation’s governors regarding the protests. Rather than discussing the protesters’ grievances, the

heinous murders, or the need for racial justice and systematic reform, the President, according to

media accounts, “berated [several of] the nation’s governors,” “describ[ing] them as ‘weak’ in the

face of growing racial unrest and urg[ed] them to take an aggressive stand against unruly protests.”

The President explained, “You have to dominate. If you don’t dominate, you’re wasting your

time . . . . They’re going to run over you. You’re going to look like a bunch of jerks.” He

continued, “You have to do retribution . . . . You can’t do the deal where they get one week in jail.

These are terrorists. These are terrorists.” On the same conference call, then-Secretary of

Defense Mark Esper stated “[W]e need to dominate the battle space . . . . I think the sooner that

you . . . dominate the battle space, the quicker this dissipates and we can get back to the right

normal.” In all of these discussions, the “terrorists” were American protesters exercising their

First Amendment freedoms. The “battle space[s]” were American cities and public fora.

       53.     As the day continued, with large protests ongoing throughout Washington, D.C.,

numerous protesters gathered in Lafayette Park. Lafayette Park is located directly north of the

White House. Because of this location, Lafayette Park has long been the sight of many influential

protests—including for women’s suffrage and civil rights, and against the Vietnam War—among

many other causes, serving as “a focal point for the expression of American ideals.” Lafayette

Park has a particularly salient history of hosting protests following the extrajudicial killing of black




                                                  15
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 18 of 67




Americans, including a thousand-person rally in Lafayette Park in August 1946 to demand that the

Truman administration prosecute recent “terroristic attacks on Negro citizens,” and rallies

throughout the 1960s to protest similar atrocities. With the “White House as the[] valued

audience,” Lafayette Park is an invaluable “stage” upon which “citizens continue to exercise their

rights of free speech”—“a safe place for congregation and the demonstration of grievances.”2

Courts have long recognized Lafayette Park as a quintessential traditional public forum. See, e.g.,

United States v. Doe, 968 F.2d 86, 87 (D.C. Cir. 1992) (“[N]o one disputes that Lafayette Park is

a ‘quintessential public forum.’”); United States v. Musser, 873 F.2d 1513, 1517 (D.C. Cir. 1989)

(“Lafayette Park . . . is the type of public place traditionally associated with [the exercise of First

Amendment Rights.]”); A Quaker Action Grp. v. Morton, 516 F.2d 717, 736 (D.C. Cir. 1975)

(“[T]he White House sidewalk and Lafayette Park are ‘a unique situs for the exercise of First

Amendment rights[.]’”); Thomas v. News World Commc’ns, 681 F. Supp. 55, 64 (D.D.C. 1988)

(“Lafayette Park . . . [is] possibly the most conspicuous public forum in the Nation.”).

       54.     By 6:00 p.m., a large crowd of peaceful demonstrators had gathered in Lafayette

Park to protest against racial injustice and police brutality. Each of the Plaintiffs were included in

that crowd. By all accounts, the gathering was calm and peaceful, and the crowd included children

and pets. One report emphasized that “people [were] dancing and singing to a woman playing a

guitar instead of knocking over barricades.”3




2
    President’s Park: A History of Protest at the White House, THE WHITE HOUSE HISTORICAL
    ASS’N, https://www.whitehousehistory.org/presidents-park-a-history-of-protest-at-the-white-
    house (last visited August 30, 2023).
3
    Rebecca Tan et al., Before Trump vows to end ‘lawlessness,’ federal officers confront
    protesters    outside   White     House,     WASH.      POST.     (June    2,  2020),
    https://www.washingtonpost.com/local/washington-dc-protest-white-house-george-
    floyd/2020/06/01/6b193d1c-a3c9-11ea-bb20-ebf0921f3bbd_story.html.


                                                  16
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 19 of 67




       55.     At about 6:04 p.m., the White House communications office notified reporters that

an event had been added to the President’s calendar—a 6:15 p.m. news briefing in the Rose

Garden. Four minutes later, Attorney General William Barr arrived at Lafayette Park from the

White House and appeared behind the surrounding law enforcement barricade. President Trump

had appointed Attorney General Barr to “lead federal law enforcement efforts to assist in the

restoration of order to the District of Columbia.”4

       56.     Shortly thereafter, Barr personally ordered law enforcement personnel to extend the

security perimeter around the White House and clear the streets around Lafayette Park—directing

law enforcement to clear protesters from the park and its environs. Video shows Barr giving the

order to, among others, Defendant United States Park Police Captain Russell Fennelly. Members

of the District of Columbia National Guard, United States Park Police mounted on horses, the

Unites States Secret Service, Bureau of Prisons “riot teams,” and, on information and belief, the

U.S. military were all present at the scene.5 United States Park Police Major Mark Adamchik was


4
    Reuters, U.S. Justice Dept. Deploys Its Police Agencies in Washington to Quell Rioting, U.S.
    NEWS (June 1, 2020), https://www.usnews.com/news/us/articles/2020-06-01/us-justice-dept-
    deploys-its-police-agencies-in-washington-to-quell-rioting.
5
    Plaintiffs cannot presently identify each officer that attacked them and other peaceful protesters
    in Lafayette Park, as many officers did not wear badges or even clear agency markers. The
    Trump Administration was conspicuously opaque in discussing which agencies were involved
    in the dispersal of protesters at Lafayette Park, prompting the chairmen of four House
    committees to jointly demand an answer as to “[w]hich federal agencies had a physical
    presence at Lafayette Park?” Letter from Jerrold Nadler, Chairman, House Comm. on the
    Judiciary et al. to Attorney Gen. William Barr et al. (June 3, 2020), https://democrats-
    judiciary.house.gov/uploadedfiles/2020-06-
    03_ltr_to_barr_esper_bernhardt_wolf_regarding_lafayette_square.pdf; see also Zolan Kanno-
    Youngs, Unidentified Federal Police Prompt Fears Amid Protests in Washington, N.Y. TIMES
    (June                     4,                      2020),                     https://www.nytimes.
    com/2020/06/04/us/politics/unidentified-police-protests.html. Plaintiffs allege on information
    and belief that the U.S. Military was also involved in the vicious attack on protesters given the
    copious use of riot shields bearing the moniker “Military Police” and given that the Pentagon
    ordered national guard helicopters to accost protesters in Washington, D.C. on June 1. Thomas
                                                                               (Cont’d on next page)

                                                 17
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 20 of 67




the “incident commander” during this event and gave directives to and had authority over other

officers present. Major Adamchik also made changes to the United States Park Police’s normal

“rules of engagement” for the purpose of clearing the people assembled in Lafayette Park and

briefed other commanders on the rules of engagement for that day. Defendant Monahan, who was

on site at the time, personally “concurred with the[se] change[s].”

       57.     According to federal officials, sometime between 6:23 p.m. and 6:30 p.m., an

officer began giving “warnings” to the people assembled in Lafayette Park. Several officers knelt

briefly as they donned gas masks. While some officials claimed that three “warnings” were

supposedly given in total, those warnings—if given at all—were futile and inadequate. Among

other things, the “warnings” were given via a megaphone from approximately 50 yards away from

the closest protesters, with many protesters located much farther away. Many protesters could not

hear the warnings or could not understand the content of the warnings. According to a member of

the D.C. National Guard standing only 30 yards from the officer with the megaphone, the

“warnings” were barely audible even at his distance.6 During the Summer and Fall of 2020, in

fact, multiple witnesses testified under oath before Congress that they did not hear any “warning”

or “instructions to move” before the police “began charging forward at a sprinting pace.”



    Gibbons-Neff & Eric Schmitt, Pentagon Ordered National Guard Helicopters’ Aggressive
    Response in D.C., N.Y. TIMES (June 6, 2020), https://www.nytimes.com/2020/06/06/
    us/politics/protests-trump-helicopters-national-guard.html. The two helicopters (a Lakota and
    Black Hawk) flew as low as 45 feet above street level, causing strong gusts of wind that
    snapped tree branches and sent debris flying. Such tactics are typically used to frighten and
    disperse enemy combatants in a warzone. Alex Horton, et al., A low-flying ‘show of force’,
    WASH. POST (June 23, 2020), https://www.washingtonpost.com/graphics/2020/in
    vestigations/helicopter-protests-washington-dc-national-guard/.
6
    This failure to ensure that the “warnings” were audible is separately a violation of a class
    settlement ordered by the Honorable Emmet G. Sullivan of this Court in a case against, among
    others, the Metropolitan Police Department and the U.S. Park Police. See Barham v. Ramsey,
    No. 02-cv-2283-EGS (D.D.C.), ECF No. 1040 (July 7, 2015).


                                                18
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 21 of 67




Additionally, the “warnings” did not inform protesters with instructions as to how to exit safely

and avoid approaching officers.

       58.     Minutes later, at approximately 6:30 p.m., Defendants’ attack on the protesters

commenced on Major Adamchik’s order. Law enforcement officers, both on foot and mounted,

rushed the protesters, began striking them with riot shields and batons, shooting them with rubber

bullets, and firing canisters of tear gas, smoke bombs, and flash-bang grenades into the crowd in

order to clear the park. Joined by reinforcements on horseback, military and law enforcement

officers began beating people with clubs and riot shields and shooting tear gas, “stinger” balls that

shoot out rubber pellets, and flash-bang grenades into the crowd—all within the span of minutes—

in order to clear Lafayette Park. U.S. Park Police, anticipating the severity of the tear gas’s impact,

stopped to put on gas masks to avoid becoming incapacitated. Protesters, by contrast, were left

exposed. At least one Bureau of Prisons officer shot pepper balls from inside Lafayette Park

toward H street. U.S. Park Police had instructed pepper balls to be used only if protesters breached

the bike-rack fence lining the perimeter of Lafayette Square park, but protesters were not breaching

the fence when the Bureau of Prisons officer shot the pepper balls.7

       59.     On information and belief, Metropolitan Police Department Assistant Chief Jeffery

Carroll and Metropolitan Police Department Officers Anthony Alioto; Jeffrey Buchanan, wearing

helmet number 4790; Timothy Hargrove, wearing helmet number 3176; Christopher Meyer,

wearing helmet number 4895; Clifton Murphy, wearing helmet number S800; Tiffany Payne,

wearing helmet number 5751; Justin Taylor, wearing helmet number 5705; Daniel Thau, wearing



7
    The U.S. Park Police has since revealed that it had not requested the assistance of the Bureau
    of Prisons on June 1, 2020. Nonetheless, the Bureau of Prisons arrived at Lafayette Park much
    later than other law enforcement agencies—likely missing the final operational briefing—and
    purported to act under the Park Police’s direction.


                                                  19
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 22 of 67




helmet number S580; and Anthony A. Willis, wearing helmet number 5453, were present near

Lafayette Park and personally cleared protesters by using means that included deploying tear gas,

wielding batons and shields, and charging protesters. Specifically, Carroll and Alioto directed and

oversaw the deployment of the tear gas down 17th Street NW by Metropolitan Police Department

Officers. Meanwhile, United States Park Police Officers mounted on horseback, including Cara

Seberling, charged protesters, who were trying to escape. Arlington County Police Department

Officers, including Ryan Black and Ryan Allen, wielding police batons, also participated in the

attacks under the command of Arlington County Police Department Captain Wayne Vincent.

       60.     The unprovoked violence caused what news reports described as a “blind panic” as

the crowd attempted to flee westward. Chemical gasses in the air caused people to cough and

vomit as they fled the scene. Rubber bullets hit protesters, causing immense pain and lasting

injuries for some. The violent law enforcement response was captured on video from many

vantage points, some of which were broadcast on live, national television.8 In one video, a line of

Metropolitan Police Department officers walking down 17th Street NW toward G Street

deployed tear gas on peaceful protesters. In another video, two United States Park Police officers

can be seen beating two Australian journalists who were covering the protest with batons and riot

shields, even after they repeatedly identified themselves as media. One of those journalists,

Amelia Brace, testified before the House Committee on Natural Resources that she felt terrified

and trapped given the bottleneck created by the United States Park Police line, and that she

continued to be attacked by United States Park Police officers even as she was running away. The



8
    One such example, depicting the peaceful protest and the subsequent violent dispersal, can be
    found here: Reuters, Graphic Warning: Peaceful Protesters Fired at with Tear Gas, Rubber
    Bullets    by     U.S.     Military      Police,      YOUTUBE       (June      1,      2020),
    https://www.youtube.com/watch?v=UrMoqSPZym0.


                                                20
           Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 23 of 67




Department of Interior’s Inspector General (“DOI IG”) conducted an investigation into allegations

of excessive force by two United States Park Police officers against these two members of the

media. The DOI IG released its Report of Investigation, titled “Alleged Excessive Use of Force,

NPS, DC,” on May 24, 2023. The report concluded that the force used by the first officer was not

the “minimum level of reasonable force necessary” to control the situation.9 The report also

concluded that the second officer’s “use of force against the Reporter did not comply with USPP

policy.”10

                 President Trump Poses for Photo Opportunity at St. John’s Episcopal Church.

           61.     President Trump ordered law enforcement officers to take the actions described

herein in order to forcibly drive protesters from Lafayette Park. Indeed, President Trump all but

stated as much.

           62.     Around 6:43 p.m., even as protesters were still being shot at and gassed just across

the street, President Trump began delivering prepared remarks in the Rose Garden, in which he

vowed to “protect the rights of law-abiding Americans, including your Second Amendment

rights.” He urged “every governor to deploy the National Guard in sufficient numbers that we

dominate the streets . . . [and] establish[] an overwhelming law enforcement presence until the

violence has been quelled. If the city or state refuses to take the actions that are necessary to

defend the life and property of their residence, then I will deploy the United States military and

quickly solve the problem for them.”




9
     Office of the Inspector General, Alleged Excessive Use of Force, NPS, DC,
     https://www.doioig.gov/sites/default/files/2021-
     migration/AllegedExcessiveUseofForceNPSDC_Public.pdf, at p. 24.
10
     Id.


                                                    21
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 24 of 67




        63.    President Trump continued by saying, “The following measures are going into

effect immediately. First, we are ending the riots . . . . I am also taking swift and decisive action

to protect our great capital, Washington, D.C. As we speak, I am dispatching thousands and

thousands of heavily-armed soldiers, military personnel, and law enforcement officers, to stop the

rioting, looting, vandalism, assaults, and the wanton destruction of property.” He concluded his

remarks by stating, “[N]ow I am going to pay my respects to a very, very special place.”

        64.    The “very, very special place” was the historic St. John’s Episcopal Church, located

across Lafayette Park from the White House, which had suffered some fire damage the night

before. On information and belief, President Trump first raised the possibility of walking across

the street from the White House to visit St. John’s on the morning of June 1, 2020, “determined to

show he was still in charge” after the demonstrations of the preceding days.11 Although the

decision to visit the church had been made some hours before the Rose Garden address, members

of the press and local law enforcement were not informed until shortly before the crackdown on

demonstrators in Lafayette Park, if at all.

        65.    At around 7:01 p.m., President Trump emerged from the White House,

accompanied by security personnel and members of the administration, including Defendant Barr,

and walked through the now-cleared Lafayette Park. The President arrived at St. John’s at around

7:06 p.m., where he remained outside for approximately five minutes posing for photographs while

holding a bible in front of the church. The President did not mention the protesters or the attack

that law enforcement had just undertaken at his direction.



11
     See Kevin Liptak et al., 60 Minutes of Mayhem: How Aggressive Politics and Policing Turned
     a Peaceful Protest into a Violent Confrontation, CNN (June 2, 2020),
     https://www.cnn.com/2020/06/02/politics/trump-white-house-protest-police-church-photo-
     op/index.html.


                                                 22
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 25 of 67




       66.     The next morning, June 2, 2020, President Trump tweeted “D.C. had no problems

last night. Many arrests. Great job done by all. Overwhelming force. Domination. . . . [T]hank

you President Trump!” On June 4, he tweeted a letter calling the protesters “terrorists.” Days

later, White House Press Secretary Kayleigh McEnany reaffirmed the President’s view, noting that

the White House “stand[s] by [the] actions” of the federal law enforcement officers who violently

removed protesters from Lafayette Park on June 1 and had “no regrets” about the measures used.

                      These Unlawful Acts Harmed Plaintiffs and Many Others.

                                   Plaintiff Radiya Buchanan

       67.      Plaintiff Radiya Buchanan is a 30-year-old black woman who lives in Washington,

D.C. Ms. Buchanan holds a bachelor’s degree in sociology and psychology, and a master’s degree

in non-profit management. She relocated to Washington, D.C. in March 2020 to work for an

education non-profit organization, Higher Achievement, which aims to close the opportunity gap

for middle school students in underserved communities in Baltimore, D.C. Metro, and Richmond.

Ms. Buchanan participated in peaceful demonstrations protesting the murder of George Floyd,

police brutality, and racism on Sunday, May 31, 2020 and Monday, June 1, 2020 in Washington,

D.C. Ms. Buchanan has long been a passionate advocate for racial equality and social justice. For

example, as an undergraduate at St. John’s University in 2012, Ms. Buchanan and her teammates

on the track and field team participated in a peaceful demonstration protesting the murder of

Trayvon Martin.

       68.     Ms. Buchanan felt particularly compelled to join the protests in Lafayette Park on

May 31, 2020 and June 1, 2020 to protest the murder of George Floyd at the hands of the police

because she herself has experienced police brutality firsthand. When she was only 13 years old,

just a few days after her eighth grade graduation, police arrested Ms. Buchanan after an older white

man at a movie theater accused her of talking too loud before the movie began. The manager


                                                23
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 26 of 67




kicked Ms. Buchanan and her young friends out of the theater and called the police. As the girls

waited outside for Ms. Buchanan’s mother to pick them up, the police arrived and ordered Ms.

Buchanan to get off the phone with her mother. One of the officers shook his handcuffs in Ms.

Buchanan’s face and then lunged at her, knocking her to the ground and sitting on her pelvis as he

tried to handcuff her. Another officer came over, flipped Ms. Buchanan onto her stomach, and sat

on her back while the officers handcuffed her, bruising her wrists. The officers then pushed her

into their car and brought her to the police station, where they made disparaging remarks about her

and her upbringing.

       69.     Based on this incident, Ms. Buchanan was charged with trespassing and assault on

a police with a deadly weapon (i.e., her leg, which she purportedly had used to kick the officer

when he threw her to the ground), even though she was the victim of the police’s unwarranted

attack. The police report was riddled with inaccuracies, and Ms. Buchanan spent the next nine

months attending court hearings to defend herself and refute the police officers’ lies. Eventually,

the judge dismissed the case in its entirety.

       70.     Ms. Buchanan therefore joined recent protests not only because she supports racial

justice and sympathizes with victims of police violence, but because she can empathize directly

with these victims’ experiences. Ms. Buchanan knows what it feels like to experience police

brutality, and to have the police lie and insist you are guilty when you are in fact innocent. She

feels deeply for those people who end up in these situations through no fault of their own—an

officer decides they are guilty, so their innocence is taken away and their voice goes unheard. Ms.

Buchanan believes that it is important for her in this moment to join everyone speaking out against

this injustice and to have her voice heard and her presence known.




                                                24
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 27 of 67




       71.     On Monday, June 1, 2020, Ms. Buchanan and a small group of friends, including

her roommate, Plaintiff Ann Dagrin, arrived at the protest at Lafayette Park before 6:00 p.m. The

atmosphere felt very different from the demonstration that Ms. Buchanan and Ms. Dagrin had

attended on Sunday, May 31, 2020, when protesters were more vocal and a few young kids in the

crowd were agitating police officers by throwing things, though other protesters discouraged them

from doing so. By contrast, on Monday, the demonstration was peaceful and organized. They did

not witness any violence whatsoever.

       72.     Ms. Buchanan and her roommate parked near Constitution Avenue, walked up 17th

Street, and turned onto H Street, where they joined the protest. The park was blocked off by fences,

with officers lined up along the fence, carrying large weapons that looked like rifles, and wearing

what looked like war-zone attire. Ms. Buchanan and her roommate initially stayed towards the

back of the crowd, further away from the officers, but eventually moved closer to the front where

she saw officers lined up along the fencing that separated H Street from Lafayette Park. Public

reports would later suggest that the officers on H Street were U.S. Park Police officers, U.S. Secret

Service Officers, D.C. National Guard, and Arlington County Police Department personnel.

       73.     The atmosphere changed around 6:30 p.m., when law enforcement suddenly began

to shoot canisters of tear gas into the crowd and point their weapons towards the crowd to get them

to move. Officers on horses started to yell “Move!” and advanced forward into the crowd of

protesters, pushing them west on H Street. There was no warning of the officers’ attack—one

minute people were protesting peacefully, and the next minute the air was filled with smoke and

people were screaming and running away from the officers.

       74.     Ms. Buchanan and Ms. Dagrin walked quickly down H Street away from the

officers. They tried not to run to avoid trampling others. They felt as though they were being




                                                 25
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 28 of 67




enclosed and trapped. Officers were emerging from all directions and shooting rubber bullets.

The crowd became chaotic. There was a stampede as protesters were pushed along H Street from

15th to 17th Street. Ms. Buchanan and her roommate wanted to escape, but felt there was no way

out. They eventually realized that their only option was around the corner and down 17th Street.

When they finally got to the corner of H and 17th Street, officers—reported to be from the

Metropolitan Police Department—began throwing flash-bang grenades and spraying more tear

gas. Ms. Buchanan and Ms. Dagrin poured water on the washcloths they had packed and used

them to shield their faces and protect their eyes. Nevertheless, Ms. Buchanan became aware that

flash-bang grenades and tear gas canisters were being thrown at them, one of which landed and

burst within a foot of them. The gas burned their eyes, noses, and throats. Their eyes watered and

they were gagging and coughing as they walked back to their car. The burning sensation continued

on their way home. They saw a lot of protesters limping and being carried away from the crowd,

and many who needed a solution poured in their eyes to flush out the chemical irritants.

       75.     Once Ms. Buchanan got further down 17th Street, near Constitution Avenue, she

noticed that the curfew was not being enforced outside Lafayette Park. People were leisurely going

on runs, riding bikes, and living their normal lives.

       76.     Ms. Buchanan’s experience at the protest has affected her profoundly, both

emotionally and psychologically. She continues to have a heightened level of anxiety. And for at

least six months after this incident, she was particularly triggered whenever she saw police officers

or heard loud bangs. She was even startled by the sound of garbage being thrown into a can. She

also had considerable difficulty sleeping, experiencing recurring nightmares for a couple of months

after the incident. She is haunted by recurring memories of the attack, particularly the startling

noise of the tear gas canisters exploding. She says that it felt kind of like being in a war zone.




                                                 26
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 29 of 67




        77.     Ms. Buchanan is determined to continue protesting for racial justice despite her

heightened anxiety and fear following her experience in Lafayette Park on June 1, 2020. Although

Ms. Buchanan has been attending peaceful demonstrations since high school, this was the first

time she encountered police violence—or even any violence—at a protest, and she fears the police

will similarly lash out at future demonstrations. Despite her fear, Ms. Buchanan continued to

demonstrate near Lafayette Park throughout 2020, though the park itself was blocked by fencing

for a substantial period of time in June.

        78.     Anticipating police violence at future protests she attends, Ms. Buchanan now takes

goggles to protect herself from tear gas, bags of water or milk to help subdue the effects of chemical

irritants, and shares her location with family. She also turns on a walkie-talkie application on her

phone. Still, Ms. Buchanan fears that at any moment, law enforcement will suddenly turn against

peaceful protesters and decide to violently attack and disperse them. Indeed, she has seen peaceful

protesters attacked violently like she was throughout the country. But Ms. Buchanan believes that

the cause of racial justice is too important for her to stay silent.

                                        Plaintiff Ann Dagrin

        79.     Ann Dagrin is a 29-year-old black woman who lives in Washington, D.C. She is

currently a vice principal at D.C. Prep, Benning Middle Campus, a middle school that aims to

bridge the educational divide in Washington, D.C. by equipping students from underserved

communities with the academic skills and personal character required to succeed in competitive

high schools and colleges. Before D.C. Prep, Ms. Dagrin taught writing at another charter school

in Providence, Rhode Island. Ms. Dagrin received her Master’s degree in Education from

Providence College and earned a Bachelor of Science degree in health care administration from

St. John’s University, where she participated in track and field. Prior to May 31, 2020, Ms. Dagrin




                                                   27
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 30 of 67




had not attended a large scale protest, but had attended smaller protests in Providence, Rhode

Island, where she previously resided. Ms. Dagrin participated in peaceful demonstrations at

Lafayette Park protesting the murder of George Floyd, police brutality, and racism on Sunday,

May 31, 2020 and Monday, June 1, 2020.

       80.     On Monday, June 1, 2020, Ms. Dagrin arrived at Lafayette Park before 6:00 p.m.

with a small group of friends, including Plaintiff Radiya Buchanan. Prior to arriving, Ms. Dagrin

and Ms. Buchanan agreed they would leave before the 7 p.m. curfew. They parked on Constitution

Avenue, walked up 17th Street, and turned on H Street where they joined the protest. Ms. Dagrin

observed that the crowd consisted mostly of young professionals, but also included families with

young children and pets. The atmosphere was peaceful and much calmer than the atmosphere in

Lafayette Park the night before. Protesters were passing out snacks and water. Ms. Dagrin

observed a large police and military presence at the park as soon as she arrived. Ms. Dagrin and

her group weaved their way closer to the front of the protest. Ms. Dagrin did not witness protesters

verbally provoking law enforcement personnel or throwing projectiles in the officers’ direction.

At one point, Ms. Dagrin heard a muffled noise over a speaker, which she presumed came from

an officer, but was unable to make out any words. Other than that, she heard no warning before

law enforcement charged at the protesters.

       81.     Around 6:30 p.m., Ms. Dagrin suddenly heard a loud explosion. She saw law

enforcement officers, both on foot and mounted on horses, charge towards the crowd and deploy

tear gas and flash-bang grenades on protesters. Officers on the ground wore riot gear. Ms. Dagrin

became overwhelmed with fear and began crying. People were running and the crowd was chaotic.

One of her friends grabbed her and told her that they needed to go. She agreed, following closely

behind her friends as they quickly retreated with the crowd. As she fled the scene, Ms. Dagrin




                                                28
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 31 of 67




continued to sob and began experiencing a panic attack. Her chest felt tight and her breathing

short. She turned to a police officer and asked, “Why do you hate me?”

       82.     At one point, Ms. Dagrin noticed that multiple canisters of flash bang grenades and

smoke bombs were thrown at and exploded in front of her group. Ms. Dagrin saw police shoving

and pushing protesters. She was scared she would get hurt, especially after observing two male

protesters carrying another female protester who appeared to be seriously injured. Ms. Dagrin

wanted to find a way out of the area, but the officers’ hostile and aggressive demeanor towards

protesters made her feel trapped. The officers were coming from all directions and charging at

protesters, making it difficult to know which way to go. She was scared.

       83.     Ms. Dagrin saw law enforcement officers deploy tear gas in all directions, and

continue pursuing protesters even as they fled from Lafayette Park. Shortly after Ms. Dagrin and

her friends made it to the corner of H and 17th Street, they were struck by a white and gray cloud

of tear gas from a canister that landed about a foot away. Despite having been given a towel to

cover her face by other protesters, Ms. Dagrin began coughing and experienced terrible pain in her

throat and discomfort in her eyes, symptoms that persisted for almost two days.

       84.     Ms. Dagrin and her friends kept running. As they ran down 17th Street, officers

were still deploying tear gas and smoke bombs. Every few steps, they would pause, duck, and

take cover while the smoke cleared up. They did this until they were finally able to reach a safe

location on Constitution Avenue where they had parked their car. All the while, as they got closer

to their car and farther from H Street, Ms. Dagrin observed that D.C.’s curfew was not being

enforced, with people out and about on runs and walks. As she got into her car, however, Ms.

Dagrin felt as though she had just come out of a warzone.




                                               29
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 32 of 67




       85.     Ms. Dagrin has experienced significant emotional distress and anxiety since law

enforcement’s unprovoked attack on her and other protesters. For some time after, Ms. Dagrin

had trouble sleeping and felt jumpy and on-edge. For example, on June 2, 2020, Ms. Dagrin

dropped to the floor in her bedroom after hearing what she thought was an explosive. The noise

was actually the clang of a bottle tossed into the trash can in her apartment. Also on June 2, 2020,

Ms. Dagrin experienced a second panic attack shortly after she joined a protest outside of the fence

surrounding Lafayette Park. Ms. Dagrin had to leave the protest almost immediately. She had

been there less than 30 minutes.

       86.     A little over a month after June 1, 2020, she began to seek treatment for her

psychological harm with a therapist. She continues treatment to this day. Ms. Dagrin never sought

therapy before June 1, 2020. Her emotional distress has also exacerbated the physical symptoms

of certain preexisting conditions; in fact, her physician directly attributed these increased physical

symptoms to severe stress. Ms. Dagrin believes the events of June 1, 2020 had a direct, harmful

impact on her physical symptoms.

       87.     Ms. Dagrin attempted to attend Black Lives Matter protests outside of the fence

that had been surrounding Lafayette Park on June 3, 2020 and June 4, 2020. Although she was

frightened that she would again be attacked by law enforcement, she believed the reason they were

protesting was too important to stay quiet and at home. And this time she went prepared with

water bottles, wash cloths, and goggles. But, again, each time Ms. Dagrin quickly began to feel

anxious and uncomfortable and left the protests almost immediately. It was too emotional and

triggering to be back at Lafayette Park and in a crowded space.

       88.     Since then, Ms. Dagrin has stayed away from crowded spaces. She has not attended

a protest since June 2020 because she continues to have substantial fears that law enforcement will




                                                 30
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 33 of 67




attack her and other peaceful protesters as they did on June 1 and have done at peaceful protests

throughout the country. For Ms. Dagrin, the unprovoked attack on June 1, 2020 was the most

dehumanizing moment of her life.

                                    Plaintiff Lindsay Field

       89.      Lindsay Field is a 35-year-old white woman who lives in Washington, D.C. She

graduated from Pennsylvania State University in 2010 with a Bachelor of Science degree in human

development and family studies and earned a Master of Education degree from Johns Hopkins

University in 2019. Ms. Field grew up in Washington, D.C., and currently teaches second grade

at Lafayette Elementary School, a D.C. public school. She previously taught kindergarten and

first grade at charter schools in New Orleans, Louisiana. Ms. Field participated in peaceful

demonstrations at Lafayette Park protesting the murder of George Floyd, police brutality, and

racism on May 29, 2020 and June 1, 2020.

       90.     Ms. Field attended Black Lives Matter demonstrations twice before to protest the

murders of black men by police. In 2014, Ms. Field participated in peaceful demonstrations in

Washington, D.C. protesting the murder of Michael Brown in Ferguson, Missouri. In 2016, she

participated in peaceful demonstrations in New Orleans protesting the murders of Alton Sterling

in Baton Rouge, Louisiana and Philando Castile in St. Paul, Minnesota—both black men who were

killed by police.

       91.     On Monday, June 1, 2020, Ms. Field arrived at Lafayette Park around 4:45 p.m.

with her brother and a coworker. They parked on E Street and went up 17th Street to join the

protest on H Street. People were talking and chanting, and the atmosphere was passionate but

peaceful. Ms. Field observed that there were barricades around Lafayette Park, with officers along

the barricades lining the park.




                                               31
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 34 of 67




       92.     Around 6:00 p.m., Ms. Field noticed the police and military presence increasing

significantly and moving closer towards the barricades. She estimates that there were about five

to six rows of officers, with twenty to twenty-five officers in each row. Some of the officers were

equipped with ammunition belts or spray canisters. While some officers were wearing fatigues

that said “Military Police,” some were in all black, and others were in green uniforms. Ms. Field

believes the officers in all black were Secret Service agents. As the police and military presence

increased, the officers began to heckle protesters by saying menacing and threatening things to

them. She witnessed some officers signaling “I see you,” to the protesters, pointing two fingers at

their eyes then pointing back at the crowd.

       93.     Ms. Field saw several older white men in suits walk between the rows of police and

military, and come out on the east side of H Street. Ms. Field thought one of these men resembled

Attorney General Barr because of his distinctive glasses.

       94.     At one point, an officer made a muffled announcement over a megaphone. Despite

standing at the front of the crowd, mere inches from law enforcement, she could not make out what

the officer said. Ms. Field thinks he told protesters to vacate the premises, but the announcement

was unclear, and it was well before the 7:00 p.m. curfew. The officer was standing towards the

middle of the park on H Street. Ms. Field thinks the announcement may have happened a couple

of times, but she was unable to distinguish the message. All she heard was muffled noises.

       95.     Ms. Field and her brother were at that time standing in the second row of protesters

behind the barricades. But when she saw the officers suddenly begin to move forward, Ms. Field,

her brother, and other white protesters moved to the front row to stand in between black protesters

and the police and military. Ms. Field specifically noticed tensions rise between a black couple in

front of her and the police, so she went and stood in front of the black couple. Shortly after 6:30




                                                32
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 35 of 67




p.m., Ms. Field heard loud noises and saw police or military officers on horseback and smoke

coming up H Street from east to west. Other officers were approaching the barricades and blowing

whistles and spraying pepper spray or tear gas. The crowd, including Ms. Field, panicked and

began to move back.

       96.     As she was trying to find her way out of the chaos on H Street, Ms. Field saw a

black man who had gone back towards the police. She turned back and placed herself between

him and the officer. The officer threatened Ms. Field and she became scared she would get hurt.

Ms. Field and the black man began to move back. The police then came into the crowd and began

hitting people with night sticks. Ms. Field saw them beat one black protester near the barricades

particularly hard until other protesters pulled him away.

       97.     As Ms. Field turned to move towards 17th Street, she felt a sharp pain the back of

her thigh, which stung and left a bruise. Ms. Field believes it was a rubber bullet that struck her

because she saw other protesters who were also hit by rubber bullets. Ms. Field’s brother told her

to keep moving, and she did. Ms. Field had a bruise from the rubber bullet and felt pain in her leg

for about a week and a half after she was injured.

       98.     As Ms. Field continued to hobble away from the police and military’s attack, she

came across a young black woman on H Street right before 17th Street who had been sprayed in

the eyes with pepper spray or tear gas. Ms. Field and the young woman took shelter behind an

electrical box, and Ms. Field flushed the young woman’s eyes out with a water bottle Ms. Field

had brought to the protest. Other people came and helped flush the young woman’s eyes out as

well. Ms. Field remembers seeing approximately eight to ten other injured protesters.

       99.     Ms. Field and her brother were eventually able to evacuate the area and head down

17th Street to E Street where they had parked their car. On the way, they reunited with Ms. Field’s




                                                 33
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 36 of 67




coworker who had been badly sprayed with pepper spray or tear gas and had to have her eyes

flushed out before they left. Ms. Field had also inhaled smoke while on H Street that came out of

a tear gas canister. She felt the smoke in her eyes and started coughing. They all continued to

cough on the way home, and Ms. Field and her brother continued to cough after they got back to

her apartment and through that night. As they left, Ms. Field noticed that it did not appear that the

curfew was being enforced in other areas of the City.

        100.    Ms. Field is deeply disturbed and shaken by the police’s and military’s unprovoked

attack on her and other protesters. For a couple of months after the protest, Ms. Field had trouble

sleeping. She would either replay the events in her mind or experience a nightmare where

something similar occurred. Ms. Field is still processing the psychological and emotional impact

of the events that night, but she knows that they were the catalyst for heightened anxiety in all

aspects of her life. When Ms. Field goes out to eat at a restaurant, she now has to sit in a seat that

faces the door. Fire drills at school cause her anxiety when they never did before. And she now

carries pepper spray with her at all times. Ms. Field, who sought psychological therapy prior to

June 1, 2020, continued to see a therapist after June 1, 2020, where she has sought treatment for

the impact of the violence she experienced and observed on that date.

        101.    Ms. Field has not been back to Lafayette Park since June 1, 2020, and avoids

passing by it whenever she can. She was once in a rideshare vehicle when she noticed they were

passing Lafayette Park. Her stomach dropped and she became so anxious she cancelled her plans

for the rest of the day.

        102.    The events on June 1, 2020 have impacted Ms. Field’s desire to attend protests.

She is now more mindful about participating in protests and tends to stay toward the back of the

crowd. She also now stays for a shorter period of time, while before, she would stay for hours at




                                                 34
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 37 of 67




a time. Nevertheless, Ms. Field plans to continue to protest and make her voice heard. Ms. Field

participated in Black Lives Matter demonstrations again on Saturday, June 6. She and friends

walked along Independence Avenue to Freedom Plaza. She continued to protest in the weeks after

June 1, yet she feared—and continues to fear—that law enforcement may return to attack her and

other peaceful protesters as law enforcement did on June 1 and have at peaceful protests throughout

the country.

               The Trump Administration’s Cover-Up and Shifting Justifications Begin.

       103.    Defendants’ explanations for their violence demonstrate that the attack cannot be

justified under any constitutional scrutiny—even rational basis review. Indeed, Defendants’ own

justifications started shifting almost immediately and are wildly inconsistent:

       104.    The Curfew. The White House deputy press secretary initially put out a statement

just hours after law enforcement attacked the protesters, explaining that law enforcement had done

so because “[t]he perimeter was expanded to help enforce the 7 p.m. curfew.” Yet this explanation

was almost immediately contradicted by the Mayor of Washington, D.C., who had ordered the

curfew. Mayor Bowser in fact condemned the attack on protesters, tweeting: “A full 25 minutes

before the curfew & w/o provocation, federal police used munitions on peaceful protesters in front

of the White House, an act that will make the job of @DCPoliceDept officers more difficult.

Shameful!” Moreover, as recounted by Plaintiffs, none of the officers—not even the Metropolitan

Police Department—was enforcing the curfew outside of Lafayette Park and its perimeter. People

continued to walk, jog, or engage in other leisurely activities, completely unbothered by law

enforcement.

       105.    False Allegations of Violence. The next day, the United States Park Police put out

a statement attributed to Defendant Monahan, Park Police acting chief, instead explaining that law

enforcement acted “[t]o curtail the violence that was underway,” claiming that by “approximately


                                                35
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 38 of 67




6:33 pm [on June 1], violent protesters on H Street NW began throwing projectiles including

bricks, frozen water bottles and caustic liquids.”12 In a June 7, 2020 interview, Attorney General

Barr similarly insisted that “projectiles were being hurled at the police” by “a very rowdy and non-

compliant crowd.” In a June 8, 2020 press conference, the White House press secretary reiterated

these claims and referred to the protesters as “rioters.” This justification was blatantly false.

Protesters present at Lafayette Park, including Plaintiffs, saw nearly no such projectiles being

thrown, an observation consistently corroborated by numerous media accounts, police radios, and

clear video footage. Plaintiff Field recalls only one instance where a protester threw a water bottle,

but the crowd quickly admonished that individual and pushed him toward the back so as to

maintain a peaceful atmosphere. Moreover, public reports suggest that none of the protesters who

were violently dispersed was arrested.13 Notably, on June 1, not a single law enforcement officer




12
     According to the head of the Federal Public Defender’s office for the Eastern District of
     Virginia, Acting Chief Gregory T. Monahan of the Park Police “had, by far, more cases thrown
     out because of police misconduct than any other officer [he had] ever dealt with.” Matthew
     Goldstein & Katie Benner, Park Police Head Had Been Accused of Illegal Searches and
     Unreliable Testimony, N.Y. TIMES (June 18, 2020), https://nytimes.com/2020/
     06/18/us/politics/park-police-gregory-monahan.html. Among these cases is one where
     Monahan performed a cavity search on a black motorist in full view of a busy street. Id. In
     fact, Monahan has been investigated at least four additional times for conducting unlawful
     cavity searches. Id. Monahan also has such a long-standing reputation for lying under oath,
     in fact, that the same federal judge twice discounted Monahan’s testimony against a
     defendant’s. In one case, Judge Gerald B. Lee specifically stated in an opinion that he found
     Monahan’s statements “lack[ed] credibility.” United States v. Ford, 232 F.Supp. 2d 625, 629
     (E.D. Va. 2002). In a subsequent decision, Judge Lee referred to Monahan’s “previous
     questionable veracity” in deciding to once again disregard Monahan’s testimony. Goldstein,
     supra.
13
     See, e.g., June 2 Statement from United States Park Police acting Chief Gregory T. Monahan
     about the actions taken over the weekend to protect life and property, NAT’L PARK SERV. (June
     4,                                2020),                                 https://www.nps.gov/
     subjects/uspp/6_2_20_statement_from_acting_chief_monahan.htm#:~:text=Throughout%20t
     he%20demonstrations%2C%20the%20USPP,we%20are%20entrusted%20to%20protect.
                                                                              (Cont’d on next page)

                                                 36
        Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 39 of 67




at or near Lafayette Park was reported to have been injured by a protester until after officers began

forcibly clearing the Square.

        106.    The Security Perimeter. Later on June 2, 2020, anonymous administration officials

informed reporters that Defendant Barr had resolved either the day before or the morning of June

1, 2020 to extend the security perimeter around the White House, and was surprised when he

arrived at Lafayette Park at approximately 6:08 p.m. on June 1 to see that law enforcement had

failed to do so. Indeed, in a June 7, 2020 interview, Barr stated, “This was not an operation to

respond to that particular crowd. It was an operation to move the perimeter one block.”14 And on

July 29, 2020, Barr testified under oath that the decision to extend the security perimeter “was

something conceived of long before and didn’t turn on the nature of the crowd.” Defendants,

however, have never explained why the security perimeter needed to be expanded at the moment

it was and in the violent manner undertaken.15 In fact, General Joseph L. Lengyel, Chief of the

National Guard Bureau and a member of the Joint Chiefs of Staff, reported that while there were

general discussions about expanding the security perimeter, he did not recall any discussion that

the police would set up that perimeter through the use of force or by a particular time. As Former

U.S. Capitol Police Chief Terrance Gainer observed: “There was no reason to use force and fight.



14
     Transcript: Attorney General William Barr on “Face the Nation,” June 7, 2020, CBS NEWS
     (June 7, 2020), https://www.cbsnews.com/news/bill-barr-george-floyd-protests-blm-face-the-
     nation-transcript.
15
     Although both White House and Justice Department officials had previously confirmed that
     Barr personally told law enforcement personnel at Lafayette Park that “we need[] to get going
     with moving that perimeter” and to “[g]et it done,” after Barr was sued personally for damages
     arising out of this event by other plaintiffs, Barr subsequently claimed that law enforcement
     was already in the process of extending the security perimeter when he arrived at the park; that
     “I didn’t just say to them, ‘Go,’” although “my attitude was get it done”; and that the order for
     law enforcement to move in and clear the protesters was given by a Park Police “tactical
     commander.” Notwithstanding Barr’s comments, on June 8, 2020, the White House reiterated
     that “it was AG Barr who made the decision to move the perimeter.”


                                                  37
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 40 of 67




If they wanted to clear the park, they could have done it in a very orderly way, giving people

notice.”

       107.    More than a half-dozen law enforcement officials have contradicted Barr and the

Trump administration’s account of the operation to clear Lafayette Park. Among them is D.C.

Police Chief Peter Newsham, who said that the “perimeter” had not actually been extended until

long after the protesters were forcibly removed “overnight.” Newsham reported that his agency

learned through police communications that force was going to be used moments after he was told

that President Trump intended to walk to the church: “We heard that there was going to be an

unscheduled presidential movement. Just a few minutes later, our teams on the ground learned

[chemical] munitions were going to be used. The munitions were deployed minutes later.”

General Joseph L. Lengyel also reported that: “I never heard any plan, ever, that police of National

Guard were going to push people out of Lafayette Square.”

       108.    Building a Fence Around the Park. Officials also began claiming that clearing

Lafayette Park was necessary in order to build a fence. On July 28, 2020, at a hearing before the

House Committee on Natural Resources, Defendant Monahan stated that the purpose of driving

protesters out of Lafayette Park was to promptly build a perimeter fence around it. The United

States Park Police similarly stated to DOI IG that it cleared the area in order to procure antiscale

fencing around the park, claiming that the contractor responsible for putting up the fencing

requested to install it before nightfall with a police presence. But according to the United States

Park Police incident commander, USPP had not identified any specific time it would begin clearing

the park. In fact, the contractor did not even begin to unload the fencing until 7:30 p.m.—an hour

after the attack on protesters commenced.




                                                38
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 41 of 67




       109.    Protecting St. John’s Episcopal Church. On June 8, 2020, the White House Press

Secretary claimed that “the burning at St. John’s [on May 31] is what prompted the decision to

move the perimeter.” Yet the expanded security perimeter following June 1, 2020 did not

encompass St. John’s—a 10-foot tall fence that was erected on the south side of H Street, N.W.,

the opposite side of the street from St. John’s.

       110.    The President’s Photo Op. Defendants have waffled as to whether the protesters

were attacked simply to clear Lafayette Park for the President’s photo op. On June 4, 2020,

Defendant Barr denied there was any correlation between the decision to clear Lafayette Park—

which occurred at approximately 6:30 p.m.—and the President’s walk through the park to visit St.

John’s, which occurred at approximately 7:00 p.m., although he acknowledged that he knew of the

President’s plan to visit St. John’s prior to giving the directive to law enforcement that evening.

But the Attorney General also stated “I think the president is the head of the executive branch and

the chief executive of the nation and should be able to walk outside the White House and walk

across the street to the church of presidents . . . I think it was entirely appropriate for him to do,”

suggesting clearing the park was designed to facilitate the photo op.

       111.    Political Propaganda. The purpose of the violent dispersal of peaceful protesters

in Lafayette Park was made clear by June 2, 2020, when the White House published a 29-second

video depicting President Trump walking across the street, through the now-cleared park, so he

could stand in front of St. John’s Episcopal Church in order to pose for pictures while holding aloft

a bible. The White House press secretary would later compare President Trump’s walk across the

street following the violent crackdown to Winston Churchill inspecting bombing damage during

World War II and President George W. Bush throwing out the first pitch at a Major League

Baseball game after 9/11.




                                                   39
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 42 of 67




          Defendants Mislead the Public About the Scope of the Violence Undertaken.

        112.    In addition to attempting to obscure the improper and unlawful motives for their

vicious attack on protesters, Defendants also sought to deny and downplay the violent means of

their attack.

        113.    For example, the United States Park Police statement denied using “tear gas” to

disperse protesters, but acknowledged using pepper balls and smoke canisters—a formalistic and

meaningless distinction, particularly given that these and related compounds plainly constitute tear

gas pursuant to the federal Centers for Disease Control and Prevention’s categorizations. Indeed,

the Washington Post and a local news team even reportedly found spent “CS canisters”16 on the

scene, evidencing that “tear gas” was used even under the government’s own crimped definition

of the phrase. By June 4, 2020, the White House went further, denying that either tear gas or

rubber bullets were used, and claiming instead—ignoring all video evidence to the contrary—that

“bricks” and “frozen water bottles” were being thrown at law enforcement, and that law

enforcement thus “had no other choice than to act.” Incredibly, Defendants stated that law

enforcement had defended themselves “peaceably” during the attack on the peaceful protesters in

Lafayette Park. Attorney General Barr himself insisted on June 7, 2020 that “law enforcement

officials with shields warn[ed] and mov[ed] a line slowly” and “mounted officers mov[ed] slowly,

directing people to move,” contrary to live television broadcasts depicting law enforcement

charging at the protesters and the ensuing chaos.




16
     See Carol D. Leonning, Park Police spokesman acknowledges chemical agents used on
     Lafayette Square protesters are similar to tear gas, WASH. POST (June 5, 2020),
     https://www.washingtonpost.com/politics/park-police-spokesman-acknowledges-chemical-
     agents-used-on-lafayette-square-protesters-are-similar-to-tear-gas/2020/06/05/971a8d78-
     a75a-11ea-b473-04905b1af82b_story.html.


                                                40
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 43 of 67




        114.   And in a June 5, 2020 interview, a United States Park Police spokesperson admitted

that “it was a ‘mistake’ to insist in a statement on Tuesday that the agency didn’t use tear gas the

day before in a Washington, DC, park to disperse a crowd ahead of President Donald Trump’s

photo op, explicitly noting that pepper balls shot by officials irritate the eyes and cause tears.” Yet

just hours later, the United States Park Police switched course yet again, issuing a statement from

Defendant Monahan “reiterating” that “United States Park Police officers and other assisting law

enforcement partners did not use tear gas or OC Skat Shells to close the area at Lafayette Park in

response to violent protesters.” On June 7, 2020, Barr continued to deny that any tear gas or

chemical irritants had been used in Lafayette Park on June 1, even as he acknowledged the use of

“pepper balls,” because “[p]epper spray is not a chemical irritant. It’s not chemical.”

                    Defendants Close Lafayette Park—A Traditional Public Forum.

        115.   By the morning of June 2, 2020, the United States Secret Service announced that

all access to Lafayette Park would be blocked indefinitely “to ensure public safety,” erecting a 10-

foot-high fence around a square that has long served as a key gathering place for peaceful assembly

in the nation’s capital. They cited no ongoing threat to public safety, nor was there any. Indeed,

arrests in Washington, D.C. arising from the protests were minimal on June 2 (29 arrests), June 3

(0 arrests), June 4 (0 arrests), and June 5-7 (1 arrest each day).17 But the fence blocked access to

Lafayette Park entirely, and prevented anyone from assembling there to exercise their free speech

rights, in “possibly the most conspicuous public forum in the Nation” directly in front of the White

House. By June 4, 2020, the erection of additional security barriers around the White House and


17
     May-June 2020 Unrest-Related Arrests and Persons of Interest, METROPOLITAN POLICE DEPT.
     (June                                          26,                               2020),
     https://web.archive.org/web/20200627122842/https://mpdc.dc.gov/page/may-june-2020-
     unrest-related-arrests-and-persons-interest (link to archived article).
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                                                  41
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 44 of 67




surrounding area had been “transformed into a veritable fortress” “resembl[ing] the monarchical

palaces or authoritarian compounds of regimes in faraway lands”—“the physical manifestation of

President Trump’s vision of law-and-order ‘domination’ over the millions of Americans who have

taken to the streets to protest racial injustice.”18

        116.    A few days later, after congressional leaders sent a letter to the White House

demanding that the fences come down, news reports suggested that the fencing would come down

on June 10, 2020. On June 9, 2020, the United States Secret Service backtracked, advising that

the fences would not be coming down and Lafayette Park would not reopen to the public in the

near future. Some fencing was removed on June 11, but other sections of fence remained after,

reminding protesters that Defendants may attempt to seal off the Park at any time.

          Americans Across the Political Spectrum Are Outraged Over the Attack of Unarmed
                                          Peaceful Protesters.

        117.    In response to this wanton violence against unarmed, peaceful protesters,

Americans—already outraged over the continual and systematic abuse endured by communities

of color at the hands of government—grew even more incensed.

        118.    Church leaders at St. John’s Episcopal Church were infuriated. Reverend Robert

Fisher said he was never informed that President Trump planned to visit the church, describing the

event as “surreal” and like “some alternative universe.” And the Right Reverend Mariann Budde

stated “I am outraged . . . I am the bishop of the Episcopal Diocese of Washington and was not

given even a courtesy call that they would be clearing with tear gas so they could use one of our



18
     Philip Rucker et al., With White House Effectively a Fortress, Some See Trump’s Strength —
     but      Others       See     Weakness,      WASH.        POST      (June    4,      2020),
     https://www.washingtonpost.com/politics/with-his-white-house-effectively-a-fortress-trump-
     sees-strength--but-others-see-weakness/2020/06/04/3c70fa26-a672-11ea-b619-
     3f9133bbb482_story.html.


                                                       42
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 45 of 67




churches as a prop, holding a Bible, one that declares that God is love and when everything he has

said and done is to inflame violence.” Reverend Budde testified before the House Committee on

Natural Resources that she was “horrified” to see the government carrying out the threats of force

President Trump made in the Rose Garden by “tear gassing Americans engaged in peaceful

protests.” She testified that President Trump’s actions were “a misappropriation of scripture, and

a usurpation of our sacred space.” And a former rector at St. John’s Episcopal Church described

her dismay at being “driven off of the patio at St. John’s – a place of peace and respite and medical

care throughout the day – so that man could have a photo opportunity in front of the church!!!

People were hurt so that he could pose in front of the church with a bible!”

        119.    Republican Senators also rebuked the attack on peacefully protesting American

citizens and questioned the constitutionality of the order. Senator Ben Sasse of Nebraska said

“there is a fundamental—a Constitutional—right to protest, and I’m against clearing out a peaceful

protest for a photo op.” Senator Tim Scott of South Carolina also criticized the President’s actions:

“[I]f your question is, should you use tear gas to clear a path so the president can go have a photo-

op, the answer is no.” Senator Susan Collins of Maine stated that it was “painful to watch peaceful

protesters be subjected to tear gas in order for the president to go across the street to a church that

I believe he’s attended only once.” Senator Thom Tillis denounced the Trump administration’s

treatment of protesters.19 And Senator Lindsey Graham openly supported Gen. Milley’s apology

for his involvement in President Trump’s photo op at St. John’s.20


19
     Sen. Tillis says using military to push protesters out of Lafayette Square was inappropriate,
     WASH. POST (June 16, 2020), https://www.washingtonpost.com/video/washington-post-
     live/wplive/sen-tillis-says-using-military-to-push-protesters-out-of-lafayette-square-was-
     inappropriate/2020/06/16/e821f7fc-c142-41a5-addc-96f1f5abc962_video.html?.
20
     Caroline Kelly, Lindsey Graham backs top general's apology for appearing with Trump after
     force      used        on      protesters,       CNN         (June       11,       2020),
                                                                         (Cont’d on next page)

                                                  43
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 46 of 67




       120.    Even respected members of the military and former members of the Trump

Administration spoke out against the actions taken in Lafayette Park. Former Secretary of Defense

James Mattis excoriated the decision to use tear gas on peaceful protesters, stating: “When I joined

the military, some 50 years ago, I swore an oath to support and defend the Constitution. Never did

I dream that troops taking that same oath would be ordered under any circumstance to violate the

Constitutional rights of their fellow citizens—much less to provide a bizarre photo op for the

elected commander-in-chief, with military leadership standing alongside.” In a June 5, 2020

interview, General John Kelly, former White House Chief of Staff for President Trump and former

Secretary of Homeland Security, stated that he “agree[d]” with General Mattis’s comments.

Former Under Secretary of Defense James N. Miller resigned from the Defense Science Board and

accused Secretary of Defense Esper of violating his oath of office because under his auspices

“[l]aw-abiding protesters just outside the White House were dispersed using tear gas and rubber

bullets – not for the sake of safety, but to clear a path for a presidential photo op.” Admiral Mike

Mullen, former Chairman of the Joint Chiefs of Staff, wrote, “It sickened me yesterday to see

security personnel—including members of the National Guard—forcibly and violently clear a path

through   Lafayette   Park    to   accommodate       the   president’s   visit   outside   St.   John’s

Church. . . . Whatever Trump’s goal in conducting his visit, he laid bare his disdain for the rights

of peaceful protest in this country, gave succor to the leaders of other countries who take comfort

in our domestic strife, and risked further politicizing the men and women of our armed forces.”

       121.    Eighty-nine former Department of Defense officials, including four former

Secretaries of Defense of both parties, published an open letter in the Washington Post decrying




   https://www.cnn.com/2020/06/11/politics/lindsey-graham-general-apologize-trump-
   protests/index.html.


                                                44
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 47 of 67




President Trump’s use of “flash-bang grenades, pepper spray and . . . rubber bullets to drive lawful

protesters, as well as members of the media and clergy, away from the historic St. John’s Episcopal

Church[,] [a]ll so he could hold a politically motivated photo op” as a “betray[al]” of his oath “to

support and defend the Constitution of the United States.” And General Mark Milley, then-

Chairman of the Joint Chiefs of Staff, has now publicly apologized for his role in the Lafayette

Park incident: “I should not have been there. My presence in that moment and in that environment

created a perception of the military involved in domestic politics. As a commissioned uniformed

officer, it was a mistake that I have learned from, and I sincerely hope we all can learn from it.”

        122.    Politico subsequently published an article with interviews of National Guardsmen

involved in the attack.21 One noted, “As a military officer, what I saw was more or less really f--

ed up. . . . The crowd was loud but peaceful, and at no point did I feel in danger, and I was standing

right there in the front of the line.” The Guardsman concluded: “I believe I saw civil rights being

violated in order for a photo op . . . . I’m here to support and defend the Constitution of the United

States and what I saw just goes against my oath and to see everyone try to cover up what really

happened. What I saw was just absolutely wrong.” Similarly, more than 1,250 Justice Department

alumni signed an open letter calling on the department’s inspector general to open an investigation

into Attorney General Barr’s actions on June 1, noting that “it is unclear under what purported

authority” he “issued orders to officers of a variety of federal agencies, including United States

Secret Service, United States Park Police, District of Columbia National Guard, and United States

Military Police” and that “[b]ased on what we now know, these actions violated both the First

Amendment of the United States Constitution, which protects freedom of speech and the press,


21
     Daniel Lippman, ‘What I saw was just absolutely wrong’: National Guardsmen struggle with their
     role      in       controlling     protests,       POLITICO       (June      10,       2020),
     https://www.politico.com/news/2020/06/09/national-guard-protests-309932.


                                                 45
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 48 of 67




and the right to assemble; and the Fourth Amendment, which prohibits unreasonable seizures, to

include objectively unreasonable uses of force by law enforcement officers. None of us would

ever have considered directing or engaging in such actions to be consistent with our oaths to

support and defend the Constitution.”22

        123.    Facing this wave of criticism, Defendant Mark Esper, the Secretary of Defense and

one of the attendees of President Trump’s photo op, attempted to distance himself from the

administration’s rhetoric and President Trump’s threat to deploy military force to enforce order,

stating that “[w]e are not in one of those situations” where such force would be appropriate, and

stating, “I do not support invoking the Insurrection Act.”

        124.    In addition, Arlington County police officers who had been deployed to support

Park Police at Lafayette Park left after Arlington County officials realized they had been co-opted

to participate in a “presidential publicity stunt.”

        125.    However, what never came to pass was any acknowledgment by the Defendants

that their actions were inappropriate, unlawful, and dangerous. Indeed, on June 8, 2020, the White

House Press Secretary reiterated that the President is not “sorry” about the events of June 1 and

stated that critics of what happened in Lafayette Park “should go back and read the Constitution”

and “I’d point [them] to the First Amendment, where it says you have the right to, quote,

‘peaceably assemble.’”

        126.    In the weeks following the June 1 attack on peaceful protesters, the President

continued his violent rhetoric. On Juneteenth 2020, the holiday commemorating the end of slavery

in the United States, President Trump tweeted a warning to anyone who planned to protest at a re-


22
     DOJ Alumni Letter to Inspector General Michael Horowitz, DOJ Alumni (June 10, 2020),
     https://medium.com/@dojalumni/doj-alumni-letter-to-inspector-general-michael-horowitz-
     8011bb12167b.


                                                  46
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 49 of 67




election campaign rally he was about to hold in Tulsa, Oklahoma: “Any protesters, anarchists,

agitators, looters or lowlifes who are going to Oklahoma please understand, you will not be treated

like you have been in New York, Seattle, or Minneapolis. It will be a much different scene!” Days

later, on June 23, 2020, President Trump tweeted that protesters in Washington, D.C. who

attempted to set up an autonomous zone in the nation’s capital would be “met with serious force!”

Twitter flagged President Trump’s tweet with a public interest notice explaining that the Tweet

“violat[ed] Twitter’s policy against abusive behavior, specifically the presence of a threat of harm

against an identifiable group.”

           Congress and Federal Agencies Launch Investigation of Excessive Use of Force
                          against Protesters at Lafayette Park on June 1.

       127.    Following the events on June 1, 2020, the House Committee on Natural Resources

requested that the DOI IG launch an investigation into United States Park Police’s actions in

Lafayette Park that day. On June 18, 2020, Interior Department Inspector General Mark Greenblatt

confirmed that his office had “already begun collecting and reviewing information concerning the

Park Police’s activities,” and “will make an initial determination of which agency had command

and control of the law enforcement operation and conduct a review of Park Police actions

accordingly.” The DOI subsequently identified a number of deficiencies in U.S. Park Police

officers’ communication and coordination to clear the park—including USPP’s failure to

communicate adequate warnings to protesters that the square was about to be cleared. The DOI’s

investigation, however, was materially incomplete. It did not interview Attorney General Barr,

any White House personnel, Metropolitan Police Department personnel, and many others.

       128.    The House Committee on Natural Resources then held two oversight hearings, on

June 29 and July 28, 2020, to examine the use of force against peaceful protesters at Lafayette

Park on June 1, 2020. The House Committee on Natural Resources interviewed various witnesses,



                                                47
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 50 of 67




including a civil rights activist, journalist, a major in the D.C. National Guard, and Acting Chief

of the United States Park Police Gregory Monahan. The House Judiciary Committee, in a separate

hearing on July 28, 2020, also interviewed Attorney General Barr on his role in dispersing

protesters in Lafayette Park on June 1, 2020. Federal authorities, including the Department of

Justice’s Inspector General, continue to investigate the facts and circumstances surrounding the

Trump Administration’s decision to use force against protesters in Lafayette Park.

        129.   During these congressional hearings, a whistleblower with the National Guard

confirmed the depravity of Defendants’ conduct, testifying under oath:

               Having served in a combat zone, and understanding how to assess
               threat environments, at no time did I feel threatened by the protesters
               or assess them to be violent. In addition, considering the principles
               of proportionality of force and the fundamental strategy of
               graduated responses specific to civil disturbance operations, it was
               my observation that the use of force against demonstrators in the
               clearing operation was an unnecessary escalation of the use of force.
               From my observation, those demonstrators – our fellow American
               citizens -- were engaged in the peaceful expression of their First
               Amendment rights. Yet they were subjected to an unprovoked
               escalation and excessive use of force.

               As the late Representative John Lewis said, “When you see
               something that is not right, not just, not fair, you have a moral
               obligation to say something, to do something.”

               The oath I swore as a military officer, to support and defend the
               Constitution of the United States, is a bedrock guiding principle and,
               for me, constitutes an individual moral commitment and ethical
               instruction. It is the foundation of the trust safely placed in the
               Armed Forces by the American people. And it compels me to say
               something – and do something – about what I witnessed on June 1
               at Lafayette Square.23



23
     Unanswered Questions About the U.S. Park Police’s June 1 Attack on Peaceful Protestors at
     Lafayette Square: Hearing Before the H. Committee on Natural Resources, 116th Cong. (2020)
     (statement of Adam DeMarco), https://s3.documentcloud.org/documents/7007541/Mr-Adam-
     DeMarco-Written-Testimony.pdf.


                                                 48
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 51 of 67




                               FIRST CAUSE OF ACTION
                   Violation of the First Amendment (42 U.S.C. § 1983)
(Against Defendants Carroll, Alioto, Buchanan, Hargrove, Meyer, Murphy, Payne, Taylor,
 Thau, Willis, Black, Allen, Vincent, John and Jane Poes 1-50, and John and Jane Roes 1-
                                            50)

       130.    Plaintiffs repeat, reallege, and incorporate the allegations in the paragraphs above

as though fully set forth herein.

       131.    Plaintiffs have constitutionally protected rights under the First Amendment,

including but not limited to the right to peaceful protest in a public forum, the right to free speech

in a public forum, and the right to be free from retaliation for protected speech. Defendants

Buchanan, Hargrove, Meyer, Murphy, Payne, Taylor, Thau, Willis, Black, Allen, John and Jane

Poes 1-50, and John and Jane Roes 1-50 deliberately deprived Plaintiffs of those rights by forcibly

dispersing Plaintiffs’ peaceful protest by using weapons, including, but not limited to, tear gas,

flash-bang grenades, smoke bombs, and rubber bullets; by attempting to suppress and chill

Plaintiffs’ speech; and by engaging in excessive force as a means to deprive Plaintiffs of their First

Amendment interests. Defendants Carroll and Alioto directed and oversaw such actions by the

Metropolitan Police Department Officers, and Defendant Vincent coordinated the actions of the

Arlington Police Department Officers. In doing so, Defendants Allen, Alioto, Black, Buchanan,

Carroll, Hargrove, Meyer, Murphy, Payne, Taylor, Thau, Vincent, Willis, John and Jane Poes 1-

50, and John and Jane Roes 1-50 violated Plaintiffs’ constitutionally protected rights.

       132.    Defendants’ decision to forcibly disperse Plaintiffs by using weapons, including,

but not limited to, tear gas, flash-bang grenades, smoke bombs, and rubber bullets, violates the

First Amendment in at least three ways: (i) as unconstitutional retaliation for expressive conduct

protected under the First Amendment; (ii) as a violation of right to peaceably assemble; and (iii)

as an unconstitutional restriction of speech and protest in a traditional public forum. See Black

Lives Matter D.C. v. Trump, 544 F. Supp. 3d 15, 44–48 (D.D.C. 2021).


                                                 49
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 52 of 67




       133.    Plaintiffs’ rights to assemble, protest, speak, and demonstrate peaceably were all

protected activities under the First Amendment of the United States Constitution.            As the

Department of Justice itself stated days after the incident, “First Amendment protection is at its

apex when citizens seek to engage in core political speech in a traditional public forum.”

       134.    Defendants deprived Plaintiffs of their rights to assemble, protest, speak, and

demonstrate peaceably by forcibly dispersing Plaintiffs’ peaceful protest by using weapons,

including, but not limited to, tear gas, flash-bang grenades, smoke bombs, and rubber bullets.

       135.    Defendants’ conflicting explanations for impeding Plaintiffs’ First Amendment

rights are pretextual, disproved by the numerous videos of the June 1, 2020 event, and cannot

justify their forcible dispersion of Plaintiffs’ peaceful protest with the use of weapons, including,

but not limited to, tear gas, flash-bang grenades, smoke bombs, and rubber bullets. The videos of

the June 1 event, which show that officers began using munitions on peaceful protesters

approximately 30 minutes before the District of Columbia’s curfew was set to take effect, confirms

that the Defendants’ actions were not aimed at enforcing the curfew, as the White House alleged,

thus refuting the factual bases on which Defendants’ decision was made. Consequently, the only

reasonable inference from Defendants’ conduct is that they forcibly dispersed protesters to restrict

speech and in retaliation for Plaintiffs’ exercise of protected First Amendment activity.

       136.    None of the shifting justifications Defendants have offered to justify their violence

satisfies the First Amendment. Defendants’ shifting, pretextual bases could not have authorized

violence against unarmed protesters.

       137.    Defendants were or should have been aware that, under longstanding Supreme

Court precedent, it is a violation of foundational First Amendment rights to forcibly end a peaceful




                                                 50
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 53 of 67




protest in a traditional public forum without any legitimate justification for doing so. See Edwards

v. South Carolina, 372 U.S. 299 (1963).

        138.       Defendants are state actors who each acted under color of law in depriving Plaintiffs

of their rights.

        139.       As a result of Defendants’ actions, Plaintiffs suffered damages in an amount to be

determined at trial.

        140.       Defendants are jointly and severally liable to Plaintiffs.


                              SECOND CAUSE OF ACTION
           Federal Tort Claims Act, 28 U.S.C. §§ 1346(b), 2401 & 2671–80 (Assault)
                        (Against Defendant United States of America)

        141.       Plaintiffs repeat, reallege, and incorporate the allegations in the paragraphs above

as though fully set forth herein.

        142.       Defendants Barr, Monahan, Fennelly, Adamchik, Seberling, John and Jane Does

Nos. 1–50 committed, directed, aided and abetted, ordered, and/or entered into an agreement to

assault Plaintiffs.

        143.       Defendants Barr, Monahan, Fennelly, Adamchik, Seberling, John and Jane Does

Nos. 1–50 attempted or threatened to do physical harm to Plaintiffs and other peaceful protesters

by acting to forcibly disperse Plaintiffs and other peaceful protesters using military-grade weapons,

including, but not limited to, tear gas, flash-bang grenades, smoke bombs, and rubber bullets. See

Evans-Reid v. Dist. of Columbia, 930 A.2d 930, 937 (D.C. 2007); see also Young v. Dist. of

Columbia, 322 F. Supp. 3d 26, 41 (D.D.C. 2018). Defendants also intentionally and unlawfully

took the actions that constituted the assault (or the aiding and abetting of or conspiracy to commit

the assault). See id.; see also Black Lives Matter D.C., 544 F. Supp. 3d at 47.




                                                     51
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 54 of 67




        144.    Defendants’ forcible dispersion of Plaintiffs by using weapons, including, but not

limited to, tear gas, flash-bang grenades, smoke bombs, and rubber bullets, was an unreasonable

and excessive use of force. See Evans-Reid, 930 A.2d at 937; see also Young, 322 F. Supp. 3d at

41.

        145.    These actions were in violation of District of Columbia Common Law.

        146.    The law enforcement proviso to the FTCA’s intentional tort exception, 28 U.S.C.

§ 2680(h), waives the United States’ defense of sovereign immunity to claims of assault

undertaken by “investigative or law enforcement officers of the United States Government” acting

within the scope of their employment.

        147.    Because U.S. Park Police officers, U.S. Secret Service Officers, D.C. National

Guard officers, Federal Bureau of Prisons officers, and the Attorney General are federal employees

authorized to execute searches, seize evidence, and/or make arrests for violations of federal law,

Defendants Barr, Monahan, Fennelly, Adamchik, Seberling, John and Jane Does Nos. 1–50 qualify

as investigative or law enforcement officers of the United States Government under 28 U.S.C.

§ 2680(h).

        148.    Because Defendants Barr, Monahan, Fennelly, Adamchik, Seberling, John and Jane

Does Nos. 1–50 were acting within the scope of their employment, Defendant United States is

liable for their assault on the Plaintiffs.

                                THIRD CAUSE OF ACTION
                         Assault (District of Columbia Common Law)
               (Against Defendants Trump, Barr, Monahan, Fennelly, Adamchik,
                           Seberling, John and Jane Does Nos. 1–50)

        149.    Plaintiffs repeat, reallege, and incorporate the allegations in the paragraphs above

as though fully set forth herein.




                                                 52
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 55 of 67




       150.    Defendants Trump, Barr, Monahan, Fennelly, Adamchik, Seberling, John and Jane

Does Nos. 1–50 committed, entered into an agreement to commit, or aided and abetted the

commitment of the illegal act of assault.

       151.    The actions of Defendants Trump, Barr, Monahan, Fennelly, Adamchik, Seberling,

John and Jane Does Nos. 1–50—namely, the use, direction to use, agreement to use, ratification

of the use, and/or substantial role in the use of force, including but not limited to the use of tear

gas, flash-bang grenades, smoke bombs, and rubber bullets, in order to suppress a peaceful

demonstration and to forcibly cause Plaintiffs’ movement to halt or force them to move from the

area in and around Lafayette Square, all without a warrant or probable cause—were attempts or

threats to do physical harm to Plaintiffs and other peaceful protesters using military-grade weapons

such as tear gas and rubber bullets. See Evans-Reid, 930 A.2d at 937; see also Young, 322 F. Supp.

3d at 41. And Defendants intentionally and unlawfully took those actions that constituted the

assault. See Evans-Reid, 930 A.2d at 937; see also Black Lives Matter D.C., 544 F. Supp. 3d at

47.

       152.    Defendants’ forcible dispersion of Plaintiffs by using weapons, including, but not

limited to, tear gas, flash-bang grenades, smoke bombs, and rubber bullets, was an unreasonable

and excessive use of force. See Young, 322 F. Supp. 3d at 41.

       153.    Defendants’ actions were unconstitutional under the First Amendment for the

reasons explained in Count 1, above. Defendants’ actions were also unconstitutional under the

Fourth Amendment because Defendants deliberately seized Plaintiffs through the use of force and

threat of arrest, and by using weapons, including tear gas, grenades, smoke bombs, and rubber




                                                 53
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 56 of 67




bullets, terminating Plaintiffs’ freedom of movement when Plaintiffs did not pose a threat to

Defendants.24

        154.    Trump, Barr, Monahan, Fennelly, Adamchik, Seberling, John and Jane Does Nos.

1–50 are jointly and severally liable for having committed, directed, aided and abetted, ordered,

and/or entered into an agreement to commit the assault in the course of violating Plaintiffs’ rights

under the First and Fourth Amendments.

        155.    Plaintiffs bring this tort claim for “a violation of the Constitution of the United

States.” 28 U.S.C. § 2679(b)(2)(A); see Buchanan v. Barr, 71 F.4th 1003, 1015–17 (D.C. Cir.

2023) (Walker, J., concurring).


                              FOURTH CAUSE OF ACTION
           Federal Tort Claims Act, 28 U.S.C. §§ 1346(b), 2401 & 2671–80 (Battery)
                        (Against Defendant United States of America)

        156.    Plaintiffs repeat, reallege, and incorporate the allegations in the paragraphs above

as though fully set forth herein.

        157.    Defendants Barr, Monahan, Fennelly, Adamchik, Seberling, John and Jane Does

Nos. 1–50 committed, entered into an agreement to commit, or aided and abetted the commitment

of the illegal act of battery.

        158.    The actions of Defendants Barr, Monahan, Fennelly, Adamchik, Seberling, John

and Jane Does Nos. 1–50 committed, directed, aided and abetted, ordered, and/or entered into an

agreement to commit battery. Defendants forcibly dispersed the peaceful protest Plaintiffs were

participating in by intentionally using military-grade weapons, including, but not limited to, tear


24
     Plaintiffs previously asserted a Fourth Amendment claim. See ECF No. 29, ¶¶ 123–29. The
     Court found that Defendants were entitled to qualified immunity and, on that basis, dismissed
     Plaintiffs’ claim, but did not reach the question whether Defendants violated Plaintiffs’ Fourth
     Amendment rights. Dkt. 72 at 42–43. Plaintiffs maintain that Defendants violated their Fourth
     Amendment rights and seek tort remedies for such a violation. See 28 U.S.C. § 2679(b)(2)(A).


                                                 54
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 57 of 67




gas, flash-bang grenades, smoke bombs, and rubber bullets. Defendants’ use of these weapons

caused Plaintiffs harmful or offensive bodily contact, including pain and discomfort in their eyes,

noses, and throats due to the use of tear gas, grenades, and smoke bombs, and bodily injury caused

by projectiles.

        159.      These actions were in violation of District of Columbia Common Law.

        160.      The law enforcement proviso to the FTCA’s intentional tort exception, 28 U.S.C.

§ 2680(h), waives the United States’ defense of sovereign immunity to claims of battery

undertaken by “investigative or law enforcement officers of the United States Government” acting

within the scope of their employment.

        161.      Because U.S. Park Police officers, U.S. Secret Service Officers, D.C. National

Guard officers, Federal Bureau of Prisons officers, and the Attorney General are federal employees

authorized to execute searches, seize evidence, and/or make arrests for violations of federal law,

Defendants Barr, Monahan, Fennelly, Adamchik, Seberling, John and Jane Does Nos. 1–50 qualify

as investigative or law enforcement officers of the United States Government under 28 U.S.C.

§ 2680(h).

        162.      Because Defendants Barr, Monahan, Fennelly, Adamchik, Seberling, John and Jane

Does Nos. 1–50 were acting within the scope of their employment, Defendant United States is

liable for their battery of the Plaintiffs.


                               FIFTH CAUSE OF ACTION
                       Battery (District of Columbia Common Law)
        (Against Defendants Trump, Barr, Monahan, Fennelly, Adamchik, Seberling,
                              John and Jane Does Nos. 1–50)

        163.      Plaintiffs repeat, reallege, and incorporate the allegations in the paragraphs above

as though fully set forth herein.




                                                   55
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 58 of 67




       164.    Defendants Trump, Barr, Monahan, Fennelly, Adamchik, Seberling, John and Jane

Does Nos. 1–50 committed, entered into an agreement to commit, or aided and abetted the

commitment of the illegal act of battery.

       165.    The actions of Defendants Trump, Barr, Monahan, Fennelly, Adamchik, Seberling,

John and Jane Does Nos. 1–50—namely, the use, direction to use, agreement to use, ratification

of the use, and/or substantial role in the use of force, including but not limited to the use of tear

gas, flash-bang grenades, smoke bombs, and rubber bullets, in order to suppress a peaceful

demonstration and to forcibly cause Plaintiffs’ movement to halt or force them to move from the

area in and around Lafayette Square, all without a warrant or probable cause—were intentional

acts that caused Plaintiffs to experience harmful or offensive contacts, including pain and

discomfort in their eyes, noses, and throats due to the use of tear gas, grenades, and smoke bombs,

and bodily injury caused by projectiles.

       166.    Defendants’ actions were unconstitutional under the First Amendment for the

reasons explained in Count 1, above. Defendants’ actions were also unconstitutional under the

Fourth Amendment because Defendants deliberately seized Plaintiffs through the use of force and

threat of arrest, and by using weapons, including tear gas, grenades, smoke bombs, and rubber

bullets, terminating Plaintiffs’ freedom of movement when Plaintiffs did not pose a threat to

Defendants.

       167.    Defendants Trump, Barr, Monahan, Fennelly, Adamchik, Seberling, John and Jane

Does Nos. 1–50 are jointly and severally liable for having committed, directed, aided and abetted,

ordered, and/or entered into an agreement to commit the battery in the course of violating

Plaintiffs’ rights under the First and Fourth Amendments.




                                                 56
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 59 of 67




       168.    Plaintiffs bring this tort claim for “a violation of the Constitution of the United

States.” 28 U.S.C. § 2679(b)(2)(A); see Buchanan, 71 F.4th at 1015–17 (Walker, J., concurring).


                                SIXTH CAUSE OF ACTION
               Federal Tort Claims Act, 28 U.S.C. §§ 1346(b), 2401 & 2671–80
                        (Intentional Infliction of Emotional Distress)
                       (Against Defendant United States of America)

       169.    Plaintiffs repeat, reallege, and incorporate the allegations in the paragraphs above

as though fully set forth herein.

       170.    The actions of Defendants Barr, Monahan, Fennelly, Adamchik, Seberling, John

and Jane Does Nos. 1–50—namely, the use, direction to use, agreement to use, ratification of the

use, and/or substantial role in the use of force, including but not limited to the use of tear gas,

flash-bang grenades, smoke bombs, and rubber bullets, in order to suppress a peaceful

demonstration and to forcibly cause Plaintiffs’ movement to halt or force them to move from the

area in and around Lafayette Square, all without a warrant or probable cause—were done with

intent to cause severe emotional distress to the Plaintiffs, or with disregard of a substantial

probability of causing severe emotional distress to the Plaintiffs.

       171.    These Defendants did so with intent to cause severe emotional distress upon the

Plaintiffs, or believed that such infliction of severe emotional distress was substantially certain to

result from its acts, or with disregard of a substantial probability of causing severe emotional

distress to the Plaintiffs. The above-described acts of these Defendants were so extreme in degree,

as to go beyond all possible bounds of decency, and to be regarded as outrageous, and utterly

intolerable in a civilized community.

       172.    As a direct and proximate consequence of the intentional acts of Defendants Barr,

Monahan, Fennelly, Adamchik, Seberling, John and Jane Does Nos. 1–50, the Plaintiffs have




                                                 57
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 60 of 67




endured and continue to endure extreme mental anguish and despair and have thereby suffered

damages as set forth below.

        173.    These actions were in violation of District of Columbia Common Law.

        174.    The law enforcement proviso to the FTCA’s intentional tort exception, 28 U.S.C.

§ 2680(h), waives the United States’ defense of sovereign immunity to claims of intentional

infliction of emotional distress by “investigative or law enforcement officers of the United States

Government” acting within the scope of their employment.

        175.    Because U.S. Park Police officers, U.S. Secret Service Officers, D.C. National

Guard officers, Federal Bureau of Prisons officers, and the Attorney General are federal employees

authorized to execute searches, seize evidence, and/or make arrests for violations of federal law,

Defendants Barr, Monahan, Fennelly, Adamchik, Seberling, John and Jane Does Nos. 1–50 qualify

as investigative or law enforcement officers of the United States Government under 28 U.S.C.

§ 2680(h).

        176.    Because Defendants Barr, Monahan, Fennelly, Adamchik, Seberling, John and Jane

Does Nos. 1–50 were acting within the scope of their employment, Defendant United States is

liable for their intentional infliction of emotional distress on the Plaintiffs.


                               SEVENTH CAUSE OF ACTION
                          Intentional Infliction of Emotional Distress
                             (District of Columbia Common Law)
               (Against Defendants Trump, Barr, Monahan, Fennelly, Adamchik,
                           Seberling, John and Jane Does Nos. 1–50)

        177.    Plaintiffs repeat, reallege, and incorporate the allegations in the paragraphs above

as though fully set forth herein.

        178.    The actions of Defendants Trump, Barr, Monahan, Fennelly, Adamchik, Seberling,

John and Jane Does Nos. 1–50—namely, the use, direction to use, agreement to use, ratification




                                                   58
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 61 of 67




of the use, and/or substantial role in the use of force, including but not limited to the use of tear

gas, flash-bang grenades, smoke bombs, and rubber bullets, in order to suppress a peaceful

demonstration and to forcibly cause Plaintiffs’ movement to halt or force them to move from the

area in and around Lafayette Square, all without a warrant or probable cause—were done with

intent to cause severe emotional distress to the Plaintiffs, or with disregard of a substantial

probability of causing severe emotional distress to the Plaintiffs. These acts were so extreme in

degree as to go beyond all possible bounds of decency, and to be regarded as outrageous, and

utterly intolerable in a civilized community.

       179.    As a direct and proximate consequence of the intentional acts of Defendants Trump,

Barr, Monahan, Fennelly, Adamchik, Seberling, John and Jane Does Nos. 1–50, the Plaintiffs have

endured and continue to endure extreme mental anguish and despair and have thereby suffered

damages as set forth below.

       180.    Defendants’ actions were unconstitutional under the First Amendment for the

reasons explained in Count 1, above. Defendants’ actions were also unconstitutional under the

Fourth Amendment because Defendants deliberately seized Plaintiffs through the use of force and

threat of arrest, and by using weapons, including tear gas, grenades, smoke bombs, and rubber

bullets, terminating Plaintiffs’ freedom of movement when Plaintiffs did not pose a threat to

Defendants.

       181.    Defendants Trump, Barr, Monahan, Fennelly, Adamchik, Seberling, John and Jane

Does Nos. 1–50 are jointly and severally liable for having committed, directed, aided and abetted,

ordered, and/or entered into an agreement to commit the intentional infliction of emotional distress

in the course of violating Plaintiffs’ rights under the First and Fourth Amendments.




                                                 59
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 62 of 67




       182.      Plaintiffs bring this tort claim for “a violation of the Constitution of the United

States.” 28 U.S.C. § 2679(b)(2)(A); see Buchanan, 71 F.4th at 1015–17 (Walker, J., concurring).


                            EIGHTH CAUSE OF ACTION
             D.C. First Amendment Assemblies Act (D.C. Code § 5-331.04(c))
  (Against Defendants Trump, Barr, Monahan, Fennelly, Adamchik, Seberling, John and
                                Jane Does Nos. 1–50)

       183.      Plaintiffs repeat, reallege, and incorporate the allegations in the paragraphs above

as though fully set forth herein.

       184.      The D.C. First Amendment Assemblies Act provides: “No time, place, or manner

restriction regarding a First Amendment assembly shall be based on the content of the beliefs

expressed or anticipated to be expressed during the assembly, or on factors such as the attire or

appearance of persons participating or expected to participate in an assembly, nor may such

restrictions favor non-First Amendment activities over First Amendment activities.” D.C. Code

§ 5-331.04(c).

       185.      A First Amendment Assembly is a “demonstration, rally, parade, march, picket

line, or other similar gathering conducted for the purpose of persons expressing their political,

social, or religious views.” D.C. Code § 5-331.02(2).

       186.      Plaintiffs were present at a First Amendment assembly at Lafayette Square Park on

June 1, 2020, when Defendants attacked them.

       187.      The First Amendment Assemblies Act gives rise to private right of action, as it

explicitly states that its provisions set forth “standards for police conduct” that “may be relied upon

by such persons in any action alleging violation of statutory or common law rights.” D.C. Code

§ 5-331.17.




                                                  60
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 63 of 67




          188.   Plaintiffs fall within the group for whose special benefit the statute was enacted, as

the Act is “intended to protect persons,” like Plaintiffs, “who are exercising First Amendment

rights in the District of Columbia.” D.C. Code § 5-331.13.

          189.   The Act’s purpose is consistent with a private cause of action, as it provides that

“the declared public policy of the District of Columbia [is] that persons and groups have a right to

organize and participate in peaceful First Amendment assemblies on the streets, sidewalks, and

other public ways, and in the parks of the District of Columbia.” D.C. Code § 5-331.03.

          190.   The actions of Defendants Trump, Barr, Monahan, Fennelly, Adamchik, Seberling,

John and Jane Does Nos. 1–50—namely, the use, direction to use, agreement to use, ratification

of the use, and/or substantial role in the use of force, including but not limited to the use of tear

gas, flash-bang grenades, smoke bombs, and rubber bullets, in order to suppress a peaceful

demonstration and to forcibly cause Plaintiffs’ movement to halt or force them to move from the

area in and around Lafayette Square, all without a warrant or probable cause—were “based on the

content of the beliefs expressed,” in violation of D.C. Code § 5-331.04(c). The orders and views

of President Trump, detailed at paragraphs 48–52 and 62–66 above, reflect that the demonstration

would not have been suppressed had it been expressing a pro-Administration message.

          191.   The First Amendment Assemblies Act’s prohibition on viewpoint discrimination

implements “a core postulate of free speech law”: that “[t]he government may not discriminate

against speech based on the ideas or opinions it conveys.” Iancu v. Brunetti, 139 S. Ct. 2294, 2299

(2019).

          192.   Plaintiffs bring this claim for “a violation of the Constitution of the United States.”

28 U.S.C. § 2679(b)(2)(A).

          193.   Defendants are jointly and severally liable to Plaintiffs.




                                                   61
       Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 64 of 67



                              NINTH CAUSE OF ACTION
     Negligence Per Se (District of Columbia Common Law) / D.C. First Amendment
                        Assemblies Act (D.C. Code § 5-331.04(c))
  (Against Defendants Trump, Barr, Monahan, Fennelly, Adamchik, Seberling, John and
                                   Jane Does Nos. 1–50)

        194. Plaintiffs repeat, reallege, and incorporate the allegations in the paragraphs above

as though fully set forth herein.

        195. As explained in Count 8, the D.C. First Amendment Assemblies Act imposes a

specific duty of care regarding the policing of protests: not to impose a “time, place, or manner

restriction regarding a First Amendment assembly . . . based on the content of the beliefs expressed

or anticipated to be expressed during the assembly,” D.C. Code § 5-331.04(c), and Plaintiffs were

present at a First Amendment assembly at Lafayette Square Park on June 1, 2020, when

Defendants attacked them.

         196. The First Amendment Assemblies Act exists to promote safety. As demonstrators

and advocacy organizations exercising their First Amendment rights to protest and to associate

with others, Plaintiffs are among the class the statute is designed to protect. See D.C. Code § 5-

331.17 (“The provisions of this subchapter are intended to protect persons who are exercising First

Amendment rights in the District of Columbia[.]”).

        197. The actions of Defendants Trump, Barr, Monahan, Fennelly, Adamchik, Seberling,

John and Jane Does Nos. 1–50—namely, the suppression or ordering of the suppression of a

peaceful demonstration—were based on the content of the beliefs expressed. The orders and views

of President Trump, detailed at paragraphs 48–52 and 62–66 above, reflect that the demonstration

would not have been suppressed had it been expressing a pro-Administration message.

        198. Defendants’ actions give rise to liability to Plaintiffs under the doctrine of

negligence per se because Defendants breached their statutory duty under the First Amendment




                                                62
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 65 of 67




Assemblies Act to refrain from imposing a time, place or manner restriction on speech “based on

the content of the beliefs expressed.” D.C. Code § 5-331.04(c).

          199. The First Amendment Assemblies Act’s prohibition on viewpoint discrimination

implements “a core postulate of free speech law”: that “[t]he government may not discriminate

against speech based on the ideas or opinions it conveys.” Iancu v. Brunetti, 139 S. Ct. 2294, 2299

(2019).

          200.   Plaintiffs bring this tort claim for “a violation of the Constitution of the United

States.” 28 U.S.C. § 2679(b)(2)(A); see Buchanan, 71 F.4th at 1015–17 (Walker, J., concurring).

          201.   Defendants are jointly and severally liable to Plaintiffs.




                                                   63
      Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 66 of 67



                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court order each of the following

forms of relief, jointly and severally, against Defendants:

       a.      A declaration that the officers’ forcible dispersion of peaceful protesters by using

weapons, including, but not limited to, tear gas, flash-bang grenades, smoke bombs, and rubber

bullets, was and is unconstitutional and unlawful, in violation of the First Amendment and Fourth

Amendment, and District of Columbia state laws;

       b.      Damages in an amount to be proved at trial, including, but not limited to, punitive

damages; and

       c.      An order granting Plaintiffs costs, fees, and disbursements incurred in connection

with these proceedings and such further relief as this Court deems just and proper.




                                                 64
    Case 1:20-cv-01542-DLF Document 101-1 Filed 11/13/23 Page 67 of 67



                                      JURY DEMAND

     Plaintiffs hereby demand a jury trial.



Dated:   November 13, 2023                    Respectfully submitted,

                                              s/ Greta B. Williams
                                              Greta B. Williams (D.C. Bar No. 1006968)
                                              Zachary B. Copeland (D.C. Bar No. 1724592)
                                              GIBSON, DUNN & CRUTCHER LLP
                                              1050 Connecticut Avenue, N.W.
                                              Washington, D.C. 20036-5306
                                              Tel: 202.955.8500
                                              GBWilliams@gibsondunn.com
                                              ZCopeland@gibsondunn.com


                                              Orin Snyder (pro hac vice)
                                              Anne Champion (pro hac vice)
                                              Katherine Marquart (pro hac vice)
                                              Lee R. Crain (pro hac vice)
                                              Nadia Alhadi (pro hac vice pending)
                                              GIBSON, DUNN & CRUTCHER LLP
                                              200 Park Avenue
                                              New York, New York 10166-0193
                                              Tel: 212.351.4000
                                              OSnyder@gibsondunn.com
                                              AChampion@gibsondunn.com
                                              KMarquart@gibsondunn.com
                                              LCrain@gibsondunn.com
                                              NAlhadi@gibsondunn.com

                                              Counsel for Plaintiffs Radiya Buchanan,
                                              Ann Dagrin, and Lindsay Field




                                              65
